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        Exhibit H
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                                                                                                                                                                  FILED
                                                                                                                                                                  10/9/2019 2:06 PM
                                                                                                                                                                  DOROTHY BROWN
                                            Insured Name: WESTAR ENERGY, INC.                                                                                     CIRCUIT CLERK
                                            Policy Number: GLO 0220071-00                                                                                         COOK COUNTY, IL
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                            Effective Date: 01/01/2018                                                                                            2019CH09254

                                                                                                                                                                  6895418

                                                        THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

                                                         DISCLOSURE OF IMPORTANT INFORMATION
                                                       RELATING TO TERRORISM RISK INSURANCE ACT
                                                                                                          SCHEDULE*

                                            Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
                                            General Liability




                                            *Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                                            A. Disclosure of Premium
                                                In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
                                                with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
                                                under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
                                                premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
                                            B. Disclosure of Federal Participation in Payment of Terrorism Losses
                                                The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
                                                share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
                                                amount during the same period. The schedule below illustrates the decrease in the federal share:
                                                January1, 2015 – December 31, 2015 federal share: 85%
                                                January1, 2016 – December 31, 2016 federal share: 84%
                                                January1, 2017 – December 31, 2017 federal share: 83%
                                                January1, 2018 – December 31, 2018 federal share: 82%
                                                January1, 2019 – December 31, 2019 federal share: 81%
                                                January1, 2020 – December 31, 2020 federal share: 80%
                                            C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
                                                If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
                                                (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
                                                liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                                                losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
                                                of Treasury.
                                            D. Availability
                                                As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
                                                of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
                                                arising from events other than acts of terrorism.




                                                                                                                                                                   U-GU-630-D CW (01/15)
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                                            E. Definition of Act of Terrorism under TRIA
                                               TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
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                                               provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
                                               Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
                                               1. To be an act of terrorism;
                                               2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
                                               3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
                                                  (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
                                                  principally in the United States, on which United States income tax is paid and whose insurance coverage is
                                                  subject to regulation in the United States), or the premises of a United States mission; and
                                               4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
                                                  United States or to influence the policy or affect the conduct of the United States Government by coercion.
                                               No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
                                               Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject
                                               to TRIA, do not exceed $5,000,000.




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                                            CAP ON LOSSES FROM CERTIFIED ACTS OF
                                            TERRORISM
                                             Insureds Name                                                         Policy Number                    Effective    Endorsement
                                                                                                                                                    Date         Number
                                             WESTAR ENERGY, INC.                                                   GLO 0220071-00                   01/01/2018


                                                             THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies your insurance:

                                            A. Cap on Losses From Certified Terrorism Losses
                                                “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with
                                                provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
                                                Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
                                                1. To be an act of terrorism;
                                                2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
                                                3. To have resulted in damage within the United States, or outside of the United States in the case of an air
                                                   carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel
                                                   based principally in the United States, on which United States income tax is paid and whose insurance
                                                   coverage is subject to regulation in the United States), or the premises of a United States mission; and
                                                4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of
                                                   the United States or to influence the policy or affect the conduct of the United States Government by coercion.
                                                No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
                                                Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
                                                subject to TRIA, do not exceed $5,000,000.
                                                If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a
                                                calendar year (January 1 through December 31) and we have met our insurer deductible under the Terrorism
                                                Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that
                                                exceeds $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
                                                accordance with procedures established by the Secretary of Treasury.
                                            B. Application of Other Exclusions
                                                The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
                                                terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
                                                limited or restricted under this policy.




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                                                                                                                                                                 ZAIC000153
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                                            Disclosure Statement
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                                                                           It is our pleasure to present the enclosed policy to you
                                                                                       for presentation to your customer.


                                                                                 INSTRUCTION TO AGENT OR BROKER:

                                            WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                                                                  WITH THE POLICY.

                                              Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                                                              U-GU-873-A CW (06/ 11)
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                                            Disclosure Statement
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                                          NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


                                                       If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                                                         http: / / www.zurichnaproducercompensation.com

                                                                        or call the following toll-free number: (866) 903-1192.



                                                             This Notice is provided on behalf of Zurich American Insurance Company

                                                                                  and its underwriting subsidiaries.




                                                                                                                                       U-GU-874-A CW (06/ 11)
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                                                                                                                                  ZAIC000155
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                                            COMMERCIAL INSURANCE
                                                                                                                                              COMMON POLICY DECLARATIONS
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                            Policy Number        GLO 0220071-00                                      Renewal of Number                 NEW
                                            Named Insured and Mailing Address                                    Producer and Mailing Address
                                            WESTAR ENERGY, INC.                                                  AON RISK SERVICES SOUTHWEST INC
                                            (SEE NAMED INSURED ENDT)                                             5555 SAN FELIPE ST STE 1500
                                            818 S KANSAS AVE                                                     HOUSTON TX 77056-2739
                                            TOPEKA KS 66612

                                                                                            Producer Code      14340-000
                                            Policy Period: Coverage begins 01-01-2018 at 12:01 A.M.; Coverage ends 01-01-2019 at 12:01 A.M.
                                            The name insured is      Individual       Partnership        X Corporation
                                                                            Other:
                                            This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
                                            provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
                                            this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

                                              THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
                                              GENERAL LIABILITY COVERAGE                                                                       PREMIUM      $
                                               issued by ZURICH AMERICAN INSURANCE COMPANY




                                              THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                              TOTAL             $
                                              This premium does not include Taxes and Surcharges.

                                              Taxes and Surcharges                                                               TOTAL             $


                                              The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
                                              FORMS and ENDORSEMENTS.
                                              Countersigned this                  day of
                                                                                                                                           Authorized Representative

                                             THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
                                                     FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


                                                                                                                                                                       U-GU-D-310-A (01/ 93)
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                                                                                                                                                                   ZAIC000156
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                                                                                                        Policy Number
                                                                                                        GLO 0220071-00
                                                                           SCHEDULE OF FORMS AND ENDORSEMENTS

                                                                        Zurich American Insurance Company
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                            Named Insured   WESTAR ENERGY, INC.                                       Effective Date: 01-01-18
                                                                                                                        12:01 A.M., Standard Time
                                            Agent Name      AON RISK SERVICES SOUTHWEST INC                           Agent No.   14340-000
                                            COMMON POLICY FORMS AND ENDORSEMENTS
                                            U-GU-630-D CW               01-15      DISCLOSURE OF INFO RELATING TO TRIA
                                            U-GU-767-B CW               01-15      CAP ON LOSS FROM CERTIFIED ACTS OF TERR
                                            U-GU-D-310-A                01-93      COMMON POLICY DECLARATIONS
                                            U-GU-619-A CW               10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
                                            U-GU-319-F                  01-09      IMPORTANT NOTICE - IN WITNESS CLAUSE
                                            U-GU-621-A CW               10-02      SCHEDULE OF NAMED INSURED(S)
                                            U-GU-406-B                  07-15      INSTALLMENT PREMIUM SCHEDULE
                                            U-GU-618-A CW               10-02      SCHEDULE OF LOCATIONS
                                            U-GU-1016-A CW              06-10      KNOWLEDGE BY POSITION OR DEPARTMENT
                                            IL 00 17                    11-98      COMMON POLICY CONDITIONS
                                            IL 00 21                    09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
                                            IL 02 61                    09-07      KANSAS CHANGES-CANC & NONRENL
                                            IL 00 03                    09-08      CALCULATION OF PREMIUM
                                            U-GU-D-639-A CW             07-07      COMBINED AGGREGATE DEDUCTIBLE SCHEDULE
                                            U-GU-1191-A CW              03-15      SANCTIONS EXCLUSION ENDORSEMENT
                                            GENERAL LIABILITY FORMS AND ENDORSEMENTS
                                            U-GL-1517-B CW              04-13      RECORD OR DISTRB OF MATRL OR INFO EXCL
                                            U-GL-1520-A CW              08-12      PREM & RPTS AGRMNT- COMP RTD-CNST-WRAPUP
                                            U-GL-1522-A CW              03-13      PRIMARY & NONCONTRIB DESIG PROJ WRAP-UP
                                            U-GL-922-B CW               12-01      NOTICE OF ERROR IN CLAIM REPORTING ENDT
                                            U-GL-923-B CW               06-04      SILICA OR SILICA MIXED DUST EXCLUSION
                                            U-GL-925-B CW               12-01      WAIVER OF SUBROGATION (BLANKET) ENDT.
                                            U-GL-D-1115-B CW            09-04      COMMERCIAL GL COVERAGE PART DECLARATIONS
                                            U-GL-1364-A CW              09-08      FELLOW EMPL CVG-DESGNTD EMPLYS/POSITIONS
                                            CG 00 01                    04-13      COMMERCIAL GENERAL LIABILITY COV FORM
                                            U-GL-1114-A CW              10-02      NOTICE OF OCCURRENCE
                                            U-GL-1054-A CW              12-01      UNINTENTIONAL FAILURE TO DISCLOSE HAZARD
                                            U-GL-1055-A CW              12-01      BODILY INJURY REDEFINED
                                            UGL1171ACW                  07-03      FUNGI OR BACTERIA EXCLUSION
                                            U-GL-1298-C CW              08-08      EARLIER NOTICE OF CANCEL OR NON-RENEWAL
                                            U-GL-1336-B CW              10-07      COMBINED AGGREGATE DEDUCTIBLE
                                            U-GL-1342-A CW              10-07      LEAD LIABILITY EXCLUSION
                                            U-GL-1379-A CW              03-09      NAMED INSURED - OCIP
                                            U-GL-917-C KS               05-12      INCIDENTAL MEDICAL MALPRACTICE COV ENDT
                                            U-GL-1178ACW                07-03      ASBESTOS EXCLUSION ENDORSEMENT
                                            U-GL-1299-A CW              02-07      SOLE AGENT FOR INSUREDS
                                            U-GL-1300-A CW              01-07      JOINT DEFENSE - WRAP-UP
                                            U-GL-1301-B CW              04-11      DAMAGE TO THE PROJECT EXCLUSION
                                            U-GL-1305-A CW              02-07      LIMITATION OF COV TO DESIGNATED PROJECTS
                                            CG 01 09                    11-85      KS AND OK CHANGES - TRANSFER OF RIGHTS
                                            CG 21 06                    05-14      EXCL-ACC/DISCL OF CONFI OR PERSONAL INFO
                                            CG 21 47                    12-07      EMPLOYMENT-RELATED PRACTICES EXCLUSION
                                            CG 21 65                    12-04      TOTAL POLLUTION EXCL-WITH EXCEPTIONS
                                            CG 22 79                    04-13      EXCL-CONTRACTORS-PROF LIAB
                                            CG 24 17                    10-01      CONTRACTUAL LIABILITY - RAILROADS
                                            CG 25 04                    05-09      DESIGNATED LOCATIONS GENERAL AGGREGATE




                                               U-GU-619-A CW (10/ 02)
                                                                                                                      ZAIC000157
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                                            Important Notice – In Witness Clause

                                            In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
                                            policy.
                                            IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
                                            caused this policy to be countersigned by its duly Authorized Representative(s).




                                                        President                                                         Corporate Secretary


                                            QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
                                            insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
                                            (please have your policy or claim number ready):
                                                                                             Zurich in North America
                                                                                            Customer Inquiry Center
                                                                                                1299 Zurich Way
                                                                                       Schaumburg, Illinois 60196-1056
                                                                               1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                                                                       Email: info.source@zurichna.com




                                                                                                                                                       U-GU-319-F (01/09)
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                                                                                                                                                ZAIC000158
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                                                                                                           Policy Number
                                                                                                           GLO 0220071-00
                                                                            SCHEDULE OF NAMED INSURED(S)

                                                          ZURICH AMERICAN INSURANCE COMPANY
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                             Named Insured    WESTAR ENERGY, INC.                          Effective Date:      01-01-18
                                                                                                                    12:01 A.M., Standard Time
                                             Agent Name       AON RISK SERVICES SOUTHWEST INC              Agent No.        14340-000
                                                                              NAMED INSURED
                                            WESTAR ENERGY, INC.
                                            GREAT PLAINS ENERGY INCORPORATED
                                            KANSAS CITY POWER AND LIGHT COMPANY




                                            U-GU-621-A CW (10/ 02)
                                                                                                                        ZAIC000159
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                                                                                                                            INSTALLMENT PREMIUM SCHEDULE
                                             The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the amounts
                                             shown below.
                                             NAMED INSURED                                                POLICY NUMBER                       ENDORSEMENT NUMBER
                                             WESTAR ENERGY, INC.                                        GLO 0220071-00
                                                                                                                                Typed:     SPECIAL BILL

                                             PAYMENT            STANDARD                 TOTAL
                                             DUE                PREMIUM                  PREMIUM
                                             -------            --------                 -------

                                             02/05/18      $
                                             TOTAL         $




                                            Failure to pay the installment Premium by the Due Date shown shall constitute non-payment of premium for which we
                                            may cancel this policy.


                                                                                                                                         U-GU-406-B (07/ 15)
                                                                                                                                               ZAIC000160
                                                                Case 2:19-cv-02710-HLT Document 1-9 Filed 11/19/19 Page 12 of 79


                                                                                                                    Policy Number
                                                                                                                    GLO 0220071-00
                                                                                            SCHEDULE OF LOCATIONS

                                                                           Zurich American Insurance Company
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                             Named Insured       WESTAR ENERGY, INC.                                 Effective Date: 01-01-18
                                                                                                                             12:01 A.M., Standard Time
                                             Agent Name         AON RISK SERVICES SOUTHWEST INC                      Agent No.     14340-000
                                            Loc. Bldg.                     Designated Locations                                  Occupancy
                                            No. No.                    (Address, City, State, Zip Code)
                                            001     001   JEFFREY ENERGY CENTER
                                                          (JEC)
                                                          25905 JEFFREY RD
                                                          SAINT MARYS, KS 66536


                                            002     001   TECUMSEH ENERGY CENTER
                                                          (TEC)
                                                          5530 SE 2ND ST
                                                          TECUMSEH, KS 66542


                                            003     001   LAWRENCE ENERGY CENTER
                                                          (LEC)
                                                          1250 N 1800 RD
                                                          LAWRENCE, KS 66049




                                                  U-GU-618-A CW (10/ 02)
                                                                                                                                     ZAIC000161
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                                            Knowledge by Position or Department
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                                                   Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.
                                                GLO 0220071-00       01/01/2018           01/01/2019                                    14340000

                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Business Auto Coverage Part
                                            Commercial General Liability Coverage Part
                                            Liquor Liability Coverage Part
                                            Products/Completed Operations Liability Coverage Part
                                            Railroad Protective Liability Coverage Part
                                                                                                             SCHEDULE
                                                                                                        PROJECT MGR/RISK MGR, OR
                                                                   Position or Department:              SAFETY DIRECTOR




                                            The following Condition is added:
                                            Knowledge By Your Employee
                                            1. Knowledge of an "accident", "occurrence", offense, "injury", claim, "suit" or loss by your employee will not in and of
                                               itself be considered your knowledge of the "accident", "occurrence", offense, "injury", claim, "suit" or loss unless an
                                               employee who:
                                                a. Holds a position; or
                                                b. Is a member of a department;
                                                shown in the Schedule of this endorsement receives such knowledge.
                                            2. This endorsement does not apply unless the Schedule of this endorsement indicates at least one Position or
                                               Department.


                                            All other terms and conditions of this policy remain unchanged.




                                                                                                                                                                           U-GU-1016-A CW (06/10)
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                                                                                                                                                                      ZAIC000162
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                                                                                                                                                             IL 00 17 11 98


                                                                                  COMMON POLICY CONDITIONS
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                                            All Coverage Parts included in this policy are subject to the following conditions.

                                            A. Cancellation                                                                  b.   Give you reports on the conditions we find;
                                               1. The first Named Insured shown in the Declara-                                   and
                                                  tions may cancel this policy by mailing or de-                             c. Recommend changes.
                                                  livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
                                                  lation.                                                                    surveys, reports or recommendations and any
                                               2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
                                                  ering to the first Named Insured written notice                            surability and the premiums to be charged. We
                                                  of cancellation at least:                                                  do not make safety inspections. We do not un-
                                                  a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
                                                       lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
                                                       mium; or                                                              of workers or the public. And we do not war-
                                                                                                                             rant that conditions:
                                                  b. 30 days before the effective date of cancel-
                                                       lation if we cancel for any other reason.                             a.   Are safe or healthful; or
                                                3.We will mail or deliver our notice to the first                            b.   Comply with laws, regulations, codes or
                                                  Named Insured’s last mailing address known to                                   standards.
                                                  us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
                                               4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
                                                  date of cancellation. The policy period will end                        service or similar organization which makes in-
                                                  on that date.                                                           surance inspections, surveys, reports or recom-
                                                                                                                           mendations.
                                               5. If this policy is cancelled, we will send the first
                                                  Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
                                                  cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
                                                  Named Insured cancels, the refund may be less                            dations we may make relative to certification,
                                                  than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
                                                  even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                                                                          vators.
                                               6. If notice is mailed, proof of mailing will be suf-
                                                  ficient proof of notice.                                          E. Premiums
                                            B. Changes                                                                 The first Named Insured shown in the Declarations:
                                               This policy contains all the agreements between                         1. Is responsible for the payment of all premiums;
                                               you and us concerning the insurance afforded. The                           and
                                               first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
                                               authorized to make changes in the terms of this                             pay.
                                               policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
                                               amended or waived only by endorsement issued by                        Policy
                                               us and made a part of this policy.
                                                                                                                      Your rights and duties under this policy may not be
                                            C. Examination Of Your Books And Records                                  transferred without our written consent except in
                                               We may examine and audit your books and records                        the case of death of an individual named insured.
                                               as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
                                               policy period and up to three years afterward.                         to your legal representative but only while acting
                                            D. Inspections And Surveys                                                within the scope of duties as your legal representa-
                                               1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                                                                      anyone having proper temporary custody of your
                                                    a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                                                                      with respect to that property.




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                                                                                                                                                   ZAIC000163
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                                                                                                                                                  IL 00 21 09 08

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                                             NUCLEAR ENERGY LIABILITY EXCLUSION
                                                                       ENDORSEMENT
                                                                                                (Broad Form)


                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL AUTOMOBILE COVERAGE PART
                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                               FARM COVERAGE PART
                                               LIQUOR LIABILITY COVERAGE PART
                                               MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
                                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                                               POLLUTION LIABILITY COVERAGE PART
                                               PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                               RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                                               UNDERGROUND STORAGE TANK POLICY


                                            1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
                                               A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
                                                  or "property damage":                                        properties" of "nuclear material", if:
                                                 (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
                                                      the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
                                                      clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
                                                      clear Energy Liability Insurance Association,                charged or dispersed therefrom;
                                                      Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
                                                      ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
                                                      ada or any of their successors, or would be                  dled, used, processed, stored, transported
                                                      an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
                                                      termination upon exhaustion of its limit of li-              sured"; or
                                                      ability; or                                              (3) The "bodily injury" or "property damage"
                                                 (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
                                                      of "nuclear material" and with respect to                    of services, materials, parts or equipment in
                                                      which (a) any person or organization is re-                  connection with the planning, construction,
                                                      quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
                                                      suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
                                                      any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
                                                      sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
                                                      would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
                                                      United States of America, or any agency                      age" to such "nuclear facility" and any
                                                      thereof, under any agreement entered into                    property thereat.
                                                      by the United States of America, or any
                                                                                                         2. As used in this endorsement:
                                                      agency thereof, with any person or organi-
                                                      zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                                                            or explosive properties.
                                               B. Under any Medical Payments coverage, to
                                                  expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
                                                  jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
                                                  of "nuclear material" and arising out of the op-
                                                  eration of a "nuclear facility" by any person or
                                                  organization.



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                                               "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
                                               "by-product material" have the meanings given                     essing, fabricating or alloying of "special
                                               them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
                                               law amendatory thereof.                                           amount of such material in the custody of
                                               "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
                                               ponent, solid or liquid, which has been used or                   equipment or device is located consists of
                                                                                                                 or contains more than 25 grams of pluto-
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                                               exposed to radiation in a "nuclear reactor".
                                                                                                                 nium or uranium 233 or any combination
                                               "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
                                               "by-product material" other than the tailings or                  235;
                                               wastes produced by the extraction or concentra-
                                               tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
                                               primarily for its "source material" content, and (b)              or place prepared or used for the storage or
                                               resulting from the operation by any person or or-                 disposal of "waste";
                                               ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
                                               the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
                                               clear facility".                                           site and all premises used for such operations.
                                               "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
                                                 (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                                                                          supporting chain reaction or to contain a critical
                                                 (b) Any equipment or device designed or used             mass of fissionable material.
                                                     for (1) separating the isotopes of uranium
                                                     or plutonium, (2) processing or utilizing            "Property damage" includes all forms of radioactive
                                                     "spent fuel", or (3) handling, processing or         contamination of property.
                                                     packaging "waste";




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                                                                                                                                                  IL 02 61 09 07

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
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                                                                KANSAS CHANGES --- CANCELLATION
                                                                       AND NONRENEWAL
                                            This endorsement modifies insurance provided under the following:

                                               CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                               COMMERCIAL INLAND MARINE COVERAGE PART
                                               COMMERCIAL PROPERTY COVERAGE PART
                                               CRIME AND FIDELITY COVERAGE PART
                                               EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
                                               EQUIPMENT BREAKDOWN COVERAGE PART
                                               FARM COVERAGE PART
                                               LIQUOR LIABILITY COVERAGE PART
                                               POLLUTION LIABILITY COVERAGE PART
                                               PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                            A. Paragraph 2. of the Cancellation Common Policy                   (4) Unfavorable underwriting factors, specific
                                                Condition is replaced by the following:                             to you, exist that were not present at the in-
                                              2.a. We may cancel this policy by mailing or deliver-                 ception of this policy;
                                                    ing to the first Named Insured written notice of            (5) A determination by the insurance commis-
                                                    cancellation, stating the reasons for cancella-                  sioner that continuation of coverage could
                                                    tion, at least:                                                  place us in a hazardous financial condition
                                                   (1) 10 days before the effective date of cancella-                or in violation of the laws of Kansas; or
                                                        tion if we cancel for nonpayment of pre-                (6) A determination by the insurance commis-
                                                        mium.                                                        sioner that we no longer have adequate re-
                                                   (2) 30 days before the effective date of cancella-                insurance to meet our needs.
                                                        tion if we cancel for any other reason.           B. The following is added and supersedes any condi-
                                                b. If this policy has been in effect for 90 days or          tion to the contrary:
                                                    more, or if it is a renewal of a policy we issued,       NONRENEWAL
                                                    we may cancel this policy only for one or more           1. If we decide not to renew this policy, we will
                                                    of the following reasons:                                    mail or deliver written notice of nonrenewal,
                                                   (1) Nonpayment of premium;                                    stating the reasons for nonrenewal, to the first
                                                   (2) This policy was issued because of material                Named Insured at least 60 days prior to the ex-
                                                        misrepresentation;                                       piration of the policy.
                                                  (3) You or any other insured violated any of the           2. Any notice of nonrenewal will be mailed or
                                                      material terms and conditions of this policy;             delivered to the first Named Insured’s last mail-
                                                                                                                ing address known to us. If notice is mailed,
                                                                                                                proof of mailing will be sufficient proof of no-
                                                                                                                tice.




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                                                                                                                        IL 00 03 09 08

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
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                                                                       CALCULATION OF PREMIUM
                                            This endorsement modifies insurance provided under the following:

                                               CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                                               COMMERCIAL AUTOMOBILE COVERAGE PART
                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                               COMMERCIAL INLAND MARINE COVERAGE PART
                                               COMMERCIAL PROPERTY COVERAGE PART
                                               CRIME AND FIDELITY COVERAGE PART
                                               EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
                                               EQUIPMENT BREAKDOWN COVERAGE PART
                                               FARM COVERAGE PART
                                               LIQUOR LIABILITY COVERAGE PART
                                               MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
                                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                                               POLLUTION LIABILITY COVERAGE PART
                                               PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                               RAILROAD PROTECTIVE LIABILITY COVERAGE PART


                                            The following is added:
                                            The premium shown in the Declarations was com-
                                            puted based on rates in effect at the time the policy
                                            was issued. On each renewal, continuation, or anni-
                                            versary of the effective date of this policy, we will
                                            compute the premium in accordance with our rates
                                            and rules then in effect.




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                                             GLO 0220071-00       01-01-2018   01-01-2019




                                                                         10,199,999                                PAYROLL




                                            WC 0220072-00




                                                                                              $

                                                                                              $




                                                                                                                 ZAIC000168
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                                            SANCTIONS EXCLUSION
                                            ENDORSEMENT




                                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                            The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
                                            language in the policy, whether included in an Exclusion Section or otherwise:
                                            SANCTIONS EXCLUSION
                                            Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
                                            payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
                                            under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
                                            insured would violate any applicable trade or economic sanctions law or regulation.

                                            The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
                                            coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
                                            coverage provided. Policy may also be referred to as contract or agreement.

                                            We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
                                            mean the company providing the coverage.

                                            Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
                                            as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
                                            policy.

                                            These definitions may be found in various parts of the policy and any applicable riders or endorsements.

                                            ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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                                            Recording And Distribution Of Material                                                                          Or
                                            Information In Violation Of Law Exclusion

                                                  Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.
                                               GLO 0220071-00       01/01/2018           01/01/2019                                    14340000




                                                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part

                                            A. Exclusion q. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
                                               Exclusions of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
                                               2. Exclusions
                                                   This insurance does not apply to:
                                                   q. Recording And Distribution Of Material Or Information In Violation Of Law
                                                       "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
                                                       that violates or is alleged to violate:
                                                       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                                       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                                       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                                                           and Accurate Credit Transaction Act (FACTA); or
                                                       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                                                           or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                                                           that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                                                           use of, sending, transmitting, communicating or distribution of material or information.
                                            B. Exclusion p. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
                                               Exclusions of Section I – Coverage B – Personal And Advertising Injury Liability is replaced by the following:
                                               2. Exclusions
                                                   This insurance does not apply to:
                                                   p. Recording And Distribution Of Material Or Information In Violation Of Law
                                                       "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
                                                       violates or is alleged to violate:
                                                       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                                       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                                       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                                                           and Accurate Credit Transaction Act (FACTA); or




                                                                                                                                                                          U-GL-1517-B CW (04/13)
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                                                        (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                                                            or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
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                                                            that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                                                            use of, sending, transmitting, communicating or distribution of material or information.


                                            All other terms and conditions of this policy remain unchanged.




                                                                                                                                                                U-GL-1517-B CW (04/13)
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                                            Premium And Reports Agreement – Composite Rated
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                                            Policies – Controlled Insurance Program

                                                Policy No.    Eff. Date of Pol.    Exp. Date of Pol.        Eff. Date of End.      Producer No.           Add’l. Prem      Return Prem.
                                            GLO0220071-00      01/01/2018             01/01/2019                                    14340000


                                                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part

                                                                                                         SCHEDULE

                                            Bases of Premium (select one):

                                               Per $100 of "Construction Value"                                          Per $100 of "Worker's Compensation payroll"

                                               Per $1,000 of "Construction Value"                                        Per $1,000 of "Worker's Compensation payroll"


                                            Described Classification, Estimated Exposure, Composite Rate, Estimated Premium:

                                                                                                                                                   Composite        Estimated
                                                    Described Classification                            Estimated Exposure
                                                                                                                                                     Rate           Premium

                                            PREMISES/OPERATIONS                             $10,199,999

                                            PRODUCTS/COMPLETED
                                                                                            $10,199,999
                                            OPERATIONS

                                            TOTAL RATE/PREMIUM

                                            TERRORISM 1% OF GL PREMIUM

                                                                                                                                                                    $

                                                                                                                                                                    $

                                                                                                                                                                    $

                                                                                                                                                                    $

                                                                                                                                                                    $

                                                                                                                                                                    $

                                            Advance /Deposit Premium:

                                            Minimum Premium:

                                                                                                                                                                    U-GL-1520-A CW (08 12)
                                                                                                                                                                                Page 1 of 3
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                                            ____________________________________________________________________________________________________________

                                            Paragraph 5. Premium Audit of Section IV – Commercial General Liability Conditions is replaced by the following:
                                            5. Premium Audit
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                                               a. We will compute all premiums for this Coverage Part according to the Composite Rate(s) shown in the Schedule
                                                  of this endorsement or attached hereto. We will compute the final premium due when we determine the actual
                                                  exposures at the time of final audit. This endorsement does not include any terrorism premium. Any terrorism
                                                  premium associated with this Coverage Part will be charged for and shown separately.
                                               b. The first Named Insured shall pay the Advance / Deposit Premium shown in the Schedule of this endorsement on
                                                  or before the first day of the policy period. In addition, the first Named Insured shall pay, within 20 days following
                                                  the date of mailing or delivery of a statement of interim audited premium, any additional earned premium that we
                                                  compute during any interim audit conducted by us during the policy period.
                                               c. Within 180 days after the expiration date of the policy, we will conduct a final audit, which shall not be waived.
                                                  We will compute the earned premium for the policy period by multiplying the Composite Rate for each Described
                                                  Classification shown in the Schedule of this endorsement by the actual exposures as determined by such final
                                                  audit. If the resulting earned premium is greater than the sum of the Advance / Deposit Premium shown in the
                                                  Schedule and any interim audited premium, the first Named Insured shall pay us the excess; if less, we will return
                                                  the unearned premium to the first Named Insured. However, the earned premium will not be less than the
                                                  Minimum Premium shown in the Schedule. If no Minimum Premium is shown in the Schedule, such Minimum
                                                  Premium shall be equal to the Advance / Deposit Premium shown in the Schedule.
                                               d. The first Named Insured, all enrolled contractors and all enrolled subcontractors must keep records of the
                                                  information we need for premium computation and send us copies at such times as we may request.
                                               e. Solely with respect to this endorsement, the Composite Rate(s) applies Per $100 of Bases of Premium or Per
                                                  $1,000 of Bases of Premium as indicated in the Schedule of this endorsement.
                                               f.   Solely with respect to this endorsement, the following items are defined:
                                                    (1) "Construction value":
                                                        (a) Means the gross amount of monies paid in connection with the "designated project(s)", including all
                                                            amounts paid to enrolled contractors and enrolled subcontractors.
                                                        (b) Does not include:
                                                            (i) Insurance costs and fees, construction manager fees; land acquisition costs, architects, engineers
                                                                and other design consultant fees, and costs associated with regulatory permits and approvals.
                                                                However, if such costs and fees are used to determine the Advance / Deposit Premium shown in the
                                                                Schedule of this endorsement at the beginning of the policy period due to information provided by
                                                                you, such costs and fees will be considered part of the "construction value" amount;
                                                            (ii) Change orders initiated by the insured during the policy period or during an audit which address any
                                                                 items indicated under Paragraph (b)(i) above. Such change orders will not alter the "construction
                                                                 value" amount during the policy period or during an audit; or
                                                            (iii) Costs associated with the work performed prior to the effective date of the project.
                                                    (2) "Residential building construction" means "your work" for:
                                                        (a) Any structure occupied as, or intended to be occupied as a single family or multi-family dwelling, including
                                                            but not limited to houses, townhomes, townhouses, condominiums, cooperatives, duplexes, triplexes,
                                                            fourplexes or apartments;
                                                        (b) Any structure that combines any other use with "residential building construction" as described in
                                                            Paragraph (a) above, provided such structure contains 50% or more of the occupancy or intended
                                                            occupancy indicated in Paragraph (a) above, as measured in square footage; and
                                                        (c) Any other structure or improvement which is attached to or ancillary to any structure identified in
                                                            Paragraphs (a) or (b) above,
                                                        constructed, reconstructed, remodeled or repaired.

                                                                                                                                                                  U-GL-1520-A CW (08 12)
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                                                        "Residential building construction" does not include "your work" for any structure that functions solely as time
                                                        shares, a hotel, a motel, a nursing home, an assisted living senior housing care facility, a college campus
                                                        dormitory or government housing on military bases.
                                                    (3) "All other construction" means "your work" that is not included under "residential building construction" above.
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                                                    (4) "Worker's Compensation payroll" means Workers Compensation payroll as defined in our Workers
                                                        Compensation Rating Manual(s).


                                            All other terms and conditions of this policy remain unchanged.




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                                            Primary and Non-Contributory –
                                            Designated Project – Controlled Insurance Program

                                                Policy No.      Eff. Date of Pol.      Exp. Date of Pol.        Eff. Date of End.      Producer No.           Add’l. Prem      Return Prem.




                                                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                            A. Paragraph 4.a. of the Other Insurance Condition under Section IV – Commercial General Liability
                                               Conditions is replaced by the following:
                                               a. Primary Insurance
                                                    This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
                                                    obligations are not affected unless any of the other insurance is also primary. Then:
                                                    (1) Solely with respect to any other primary general liability insurance:
                                                         (a) Available to you as a Named Insured; or
                                                         (b) Available to you as an additional insured,
                                                         purchased by an enrolled contractor or enrolled subcontractor performing work under their respective
                                                         contract(s) at any "designated project", our insurance is primary and non-contributory.
                                                         In this event, we will not seek contribution from any other insurance.
                                                    (2) Except with respect to Paragraph (1) above, we will share with all that other insurance by the method
                                                        described in Paragraph c. below.
                                            B. Solely with respect to Paragraph A.a.(1) of this endorsement, Paragraph 4.b. of the Other Insurance
                                               Condition under Section IV – Commercial General Liability Conditions is replaced by the following:
                                               b. Excess Insurance
                                                    (1) This insurance is excess over any of the other insurance, whether primary, excess, contingent or on
                                                        any other basis:
                                                         (a) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for "your
                                                             work";
                                                         (b) That is Fire insurance for premises rented to you or temporarily occupied by you with permission
                                                             of the owner;
                                                         (c) That is insurance purchased by you to cover your liability as a tenant for "property damage" to
                                                             premises rented to you or temporarily occupied by you with permission of the owner; or
                                                         (d) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent not
                                                             subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
                                                    (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the insured
                                                        against any "suit" if any other insurer has a duty to defend the insured against that "suit". If no other
                                                        insurer defends, we will undertake to do so, but we will be entitled to the insured's rights against all
                                                        those other insurers.
                                                    (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the
                                                        loss, if any, that exceeds the sum of:

                                                                                                                                                               U-GL-1522-A CW (03-13)
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                                                        (a) The total amount that all such other insurance would pay for the loss in the absence of this
                                                            insurance; and
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                                                        (b) The total of all deductible and self-insured amounts under all that other insurance.


                                            All other terms and conditions of this policy remain unchanged.




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                                            Notice of Error In Claim Reporting Endorsement

                                                Policy No.         Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer        Add’l Prem.         Return Prem.
                                              GLO 0220071-00         01/01/2018          01/01/2019                            14340000



                                                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            Commercial General Liability Coverage Part




                                            The following is added to Duties In The Event Of Occurrence, Offense, Claim or Suit of Section IV - Commercial General
                                            Liability Conditions:


                                                e.   In the event that an insured reports an "occurrence" to the workers compensation carrier of the named insured, and this
                                                     "occurrence" later develops into a General Liability claim covered by this policy, the failure to report such "occurrence"
                                                     to us at the time of the "occurrence" shall not be deemed in violation of this condition. You must, however, give us no-
                                                     tice as soon as practicable after being made aware that the particular claim is a General Liability rather than a Workers
                                                     Compensation claim.




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                                             Silica or Silica Mixed Dust Exclusion
                                                   Policy No.        Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.         Producer           Add’l Prem.        Return Prem.
                                                 GLO 0220071-00        01/01/2018           01/01/2019                                   14340000




                                                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            Commercial General Liability Coverage Part
                                            Products-Completed Operations Liability Coverage Part

                                            The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

                                            2.    Exclusions

                                                  This insurance does not apply to:

                                                  Silica or Silica Mixed Dust

                                                  A. "Bodily injury", "property damage" or "personal and advertising injury" caused directly or indirectly, in whole or in
                                                     part, by the actual, alleged or threatened inhalation, ingestion, absorption, exposure to, existence of or presence of "sili-
                                                     ca"; or
                                                  B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
                                                     detoxifying, neutralizing, remediating or disposing of, or in any manner responding to or assessing the effects of "silica"
                                                     by any insured or by any other person or entity.
                                                  C. For the purposes of this exclusion, the following definition applies:
                                                      "Silica" means:
                                                      (1) Any form of crystalline or non-crystalline (amorphous) silica, silica particles, silica compounds, silica dust or silica
                                                          mixed or combined with dust or other particles; or
                                                      (2) Synthetic silica, including precipitated silica, silica gel, pyrogenic or fumed silica or silica-flour.




                                                                                                                                                                           U-GL-923-B CW (6/04)
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                                            Waiver Of Subrogation (Blanket) Endorsement

                                                Policy No.         Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer      Add’l Prem.         Return Prem.
                                              GLO 0220071-00         01/01/2018          01/01/2019                            14340000




                                                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            Commercial General Liability Coverage Part




                                            The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
                                            If you are required by a written contract or agreement, which is executed before a loss, to waive your rights of recovery from
                                            others, we agree to waive our rights of recovery. This waiver of rights shall not be construed to be a waiver with respect to
                                            any other operations in which the insured has no contractual interest.




                                                                                                                                                            U-GL-925-B CW (12/01)
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                                                                                                                                                     ZAIC000179
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                                                                    COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                                                                Policy Number: GLO          0220071-00
                                                                      ZURICH AMERICAN INSURANCE COMPANY
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                                              Named Insured WESTAR          ENERGY, INC.



                                              Policy Period: Coverage begins     01-01-2018           at 12:01 A.M.; Coverage ends      01-01-2019              at 12:01 A.M.


                                              Producer Name: AON      RISK SERVICES SOUTHWEST INC                                Producer No. 14340-000
                                            Item 1. Business Description:
                                            Item 2. Limits of Insurance


                                            GENERAL AGGREGATE LIMIT                                               $          4,000,000

                                            PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                        $           4,000,000

                                            EACH OCCURRENCE LIMIT                                 $         2,000,000
                                                  DAMAGE TO PREMISES
                                                  RENTED TO YOU LIMIT                             $             100,000             Any one premises

                                                   MEDICAL EXPENSE LIMIT                          $                   5,000         Any one person

                                            PERSONAL AND ADVERTISING INJURY LIMIT                 $         2,000,000               Any one person or
                                                                                                                                    organization




                                            Item 3. Retroactive Date (CG 00 02 ONLY)
                                            This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
                                            which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                                                                 (Enter Date or "None" if no Retroactive Date applies)

                                            Item 4. Form of Business and Location Premises
                                            Form of Business: CORPORATION
                                            Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
                                            Item 5. Schedule of Forms and Endorsements
                                            Form(s) and Endorsement(s) made a part of this Policy at time of issue:
                                            See Schedule of Forms and Endorsements
                                            Item 6. Premiums
                                            Coverage Part Premium:                                                              $
                                            Other Premium:
                                            Total Premium:                                                                      $




                                                                                                                                                    ZAIC000180
                                                                                                                                                      U-GL-D-1115-B CW (9/ 04)
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                                            Fellow Employee Coverage ---- Designated Employees/ Positions
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                                                Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.     Producer No.       Add’l. Prem         Return Prem.




                                            Named Insured / Mailing Address:                                       Producer:
                                            WESTAR ENERGY, INC.                                                    14340-000
                                            (SEE NAMED INSURED ENDT)
                                            818 S KANSAS AVE
                                            TOPEKA KS 66612


                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            COMMERCIAL GENERAL LIABILITY COVERAGE PART




                                                                                                         SCHEDULE

                                             Name of Person(s), Job Title(s) or Position(s):
                                             SUPERVISORY PERSONNEL OR ONSITE PROJECT MANAGEMENT




                                            (If no entry appears above, the position of "executive officer" applies.)


                                            Solely with respect to the "employee(s)" shown in the Schedule above, the following is added at the end of Paragraph
                                            2.a.(1)(a) of Section II ---- Who Is An Insured:
                                            However, the "employee(s)" shown in the Schedule above is considered an insured(s) for "bodily injury" or "personal and
                                            advertising injury" to a co-"employee" while such co-"employee" is in the course of his or her employment or performing
                                            duties related to the conduct of your business.




                                            All other terms and conditions of your Policy remain unchanged.


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                                                                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                                                                           CG 00 01 04 13

                                               COMMERCIAL GENERAL LIABILITY COVERAGE FORM
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                                            Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
                                            Read the entire policy carefully to determine rights,               occurs during the policy period; and
                                            duties and what is and is not covered.
                                                                                                            (3) Prior to the policy period, no insured listed
                                            Throughout this policy the words "you" and "your" refer              under Paragraph 1. of Section II ---- Who Is An
                                            to the Named Insured shown in the Declarations, and                  Insured and no "employee" authorized by you
                                            any other person or organization qualifying as a Named               to give or receive notice of an "occurrence" or
                                            Insured under this policy. The words "we", "us" and                  claim, knew that the "bodily injury" or
                                            "our" refer to the company providing this insurance.                 "property damage" had occurred, in whole or
                                            The word "insured" means any person or organization                  in part. If such a listed insured or authorized
                                            qualifying as such under Section II ---- Who Is An                   "employee" knew, prior to the policy period,
                                            Insured.                                                             that the "bodily injury" or "property damage"
                                                                                                                 occurred, then any continuation, change or
                                            Other words and phrases that appear in quotation                     resumption of such "bodily injury" or
                                            marks have special meaning. Refer to Section V ----                  "property damage" during or after the policy
                                            Definitions.                                                         period will be deemed to have been known
                                            SECTION I ---- COVERAGES                                             prior to the policy period.
                                            COVERAGE A ---- BODILY INJURY AND PROPERTY                   c. "Bodily injury" or "property damage" which
                                            DAMAGE LIABILITY                                                 occurs during the policy period and was not,
                                                                                                             prior to the policy period, known to have
                                            1. Insuring Agreement
                                                                                                             occurred by any insured listed under Paragraph
                                               a. We will pay those sums that the insured becomes            1. of Section II ---- Who Is An Insured or any
                                                   legally obligated to pay as damages because of            "employee" authorized by you to give or receive
                                                   "bodily injury" or "property damage" to which this        notice of an "occurrence" or claim, includes any
                                                   insurance applies. We will have the right and             continuation, change or resumption of that
                                                   duty to defend the insured against any "suit"             "bodily injury" or "property damage" after the end
                                                   seeking those damages. However, we will have              of the policy period.
                                                   no duty to defend the insured against any "suit"
                                                   seeking damages for "bodily injury" or "property      d. "Bodily injury" or "property damage" will be
                                                   damage" to which this insurance does not apply.           deemed to have been known to have occurred at
                                                   We may, at our discretion, investigate any                the earliest time when any insured listed under
                                                   "occurrence" and settle any claim or "suit" that          Paragraph 1. of Section II ---- Who Is An Insured
                                                   may result. But:                                          or any "employee" authorized by you to give or
                                                                                                             receive notice of an "occurrence" or claim:
                                                  (1) The amount we will pay for damages is limited
                                                      as described in Section III ---- Limits Of            (1) Reports all, or any part, of the "bodily injury"
                                                      Insurance; and                                             or "property damage" to us or any other
                                                                                                                 insurer;
                                                  (2) Our right and duty to defend ends when we
                                                      have used up the applicable limit of insurance        (2) Receives a written or verbal demand or claim
                                                      in the payment of judgments or settlements                 for damages because of the "bodily injury" or
                                                                                                                 "property damage"; or
                                                      under Coverages A or B or medical expenses
                                                      under Coverage C.                                     (3) Becomes aware by any other means that
                                                                                                                 "bodily injury" or "property damage" has
                                                   No other obligation or liability to pay sums or
                                                                                                                 occurred or has begun to occur.
                                                   perform acts or services is covered unless
                                                   explicitly provided for under Supplementary           e. Damages because of "bodily injury" include
                                                   Payments ---- Coverages A and B.                         damages claimed by any person or organization
                                               b. This insurance applies to "bodily injury" and             for    care, loss       of services      or death
                                                   "property damage" only if:                               resulting at any time from the "bodily injury".
                                                  (1) The "bodily injury" or "property damage" is
                                                      caused by an "occurrence" that takes place
                                                      in the "coverage territory";




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                                            2. Exclusions                                                    This exclusion applies even if the claims
                                               This insurance does not apply to:                             against any insured allege negligence or other
                                                                                                             wrongdoing in:
                                               a. Expected Or Intended Injury
                                                                                                                (a) The supervision, hiring, employment,
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                                                   "Bodily injury" or "property damage" expected                     training or monitoring of others by that
                                                   or intended from the standpoint of the insured.                   insured; or
                                                   This exclusion does not apply to "bodily injury"
                                                   resulting from the use of reasonable force to                (b) Providing      or   failing   to     provide
                                                   protect persons or property.                                      transportation with respect to any person
                                                                                                                     that may be under the influence of alcohol;
                                               b. Contractual Liability
                                                                                                             if the "occurrence" which caused the "bodily
                                                   "Bodily injury" or "property damage" for which the        injury" or "property damage", involved that which
                                                   insured is obligated to pay damages by reason of          is described in Paragraph (1), (2) or (3) above.
                                                   the assumption of liability in a contract or
                                                   agreement. This exclusion does not apply to               However, this exclusion applies only if you are in
                                                   liability for damages:                                    the business of manufacturing, distributing,
                                                                                                             selling,    serving   or     furnishing    alcoholic
                                                  (1) That the insured would have in the absence             beverages. For the purposes of this exclusion,
                                                       of the contract or agreement; or                      permitting a person to bring alcoholic beverages
                                                  (2) Assumed in a contract or agreement that is             on your premises, for consumption on your
                                                       an "insured contract", provided the "bodily           premises, whether or not a fee is charged or a
                                                       injury" or "property damage" occurs                   license is required for such activity, is not by
                                                       subsequent to the execution of the contract           itself considered the business of selling, serving
                                                       or agreement. Solely for the purposes of              or furnishing alcoholic beverages.
                                                       liability assumed in an "insured contract",        d. Workers Compensation And Similar Laws
                                                       reasonable attorneys fees and necessary
                                                       litigation expenses incurred by or for a party        Any obligation of the insured under a workers
                                                       other than an insured are deemed to be                compensation,        disability      benefits    or
                                                       damages because of "bodily injury" or                 unemployment compensation law or any similar
                                                       "property damage", provided:                          law.
                                                      (a) Liability to such party for, or for the cost    e. Employer s Liability
                                                            of, that party s defense has also been           "Bodily injury" to:
                                                            assumed in the same "insured contract";          (1) An "employee" of the insured arising out of
                                                            and                                                   and in the course of:
                                                      (b) Such attorneys fees and litigation                     (a) Employment by the insured; or
                                                            expenses are for defense of that party
                                                            against a civil or alternative dispute              (b) Performing duties related to the conduct
                                                            resolution proceeding in which damages                    of the insured s business; or
                                                            to which this insurance applies are              (2) The spouse, child, parent, brother or sister of
                                                            alleged.                                              that "employee" as a consequence of
                                               c. Liquor Liability                                                Paragraph (1) above.
                                                   "Bodily injury" or "property damage" for which             This exclusion applies whether the insured may
                                                   any insured may be held liable by reason of:               be liable as an employer or in any other capacity
                                                                                                              and to any obligation to share damages with or
                                                  (1) Causing or contributing to the intoxication of          repay someone else who must pay damages
                                                       any person;                                            because of the injury.
                                                  (2) The furnishing of alcoholic beverages to a
                                                                                                             This exclusion does not apply to liability
                                                       person under the legal drinking age or under
                                                                                                             assumed by the insured under an "insured
                                                       the influence of alcohol; or                          contract".
                                                  (3) Any statute, ordinance or regulation relating
                                                       to the sale, gift, distribution or use of
                                                       alcoholic beverages.




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                                                                                                                                          ZAIC000183
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                                               f. Pollution                                                    (d) At or from any premises, site or location
                                                  (1) "Bodily injury" or "property damage" arising                  on which any insured or any contractors
                                                       out of the actual, alleged or threatened                     or subcontractors working directly or
                                                       discharge, dispersal, seepage, migration,                    indirectly on any insured s behalf are
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                                                       release or escape of "pollutants":                           performing operations if the "pollutants"
                                                                                                                   are brought on or to the premises, site or
                                                      (a) At or from any premises, site or location                 location in connection with such
                                                           which is or was at any time owned or                     operations by such insured, contractor or
                                                           occupied by, or rented or loaned to, any                 subcontractor.           However,        this
                                                           insured. However, this subparagraph                      subparagraph does not apply to:
                                                           does not apply to:
                                                                                                                    (i) "Bodily injury" or "property damage"
                                                           (i) "Bodily injury" if sustained within a                    arising out of the escape of fuels,
                                                               building and caused by smoke, fumes,                     lubricants or other operating fluids
                                                               vapor or soot produced by or                             which are needed to perform the
                                                               originating from equipment that is used                  normal      electrical,   hydraulic    or
                                                               to heat, cool or dehumidify the                          mechanical functions necessary for the
                                                               building, or equipment that is used to                   operation of "mobile equipment" or its
                                                               heat water for personal use, by the                      parts, if such fuels, lubricants or other
                                                               building s occupants or their guests;                    operating fluids escape from a vehicle
                                                        (ii) "Bodily injury" or "property damage" for                   part designed to hold, store or receive
                                                             which you may be held liable, if you                       them. This exception does not apply if
                                                             are a contractor and the owner or                          the "bodily injury" or "property damage"
                                                             lessee of such premises, site or                           arises out of the intentional discharge,
                                                             location has been added to your policy                     dispersal or release of the fuels,
                                                             as an additional insured with respect to                   lubricants or other operating fluids, or
                                                             your ongoing operations performed for                      if such fuels, lubricants or other
                                                             that additional insured at that                            operating fluids are brought on or to
                                                             premises, site or location and such                        the premises, site or location with the
                                                             premises, site or location is not and                      intent that they be discharged,
                                                             never was owned or occupied by, or                         dispersed or released as part of the
                                                             rented or loaned to, any insured, other                    operations being performed by such
                                                             than that additional insured; or                           insured, contractor or subcontractor;
                                                       (iii) "Bodily injury" or "property damage"                  (ii) "Bodily injury" or "property damage"
                                                             arising out of heat, smoke or fumes                        sustained within a building and caused
                                                             from a "hostile fire";                                     by the release of gases, fumes or
                                                                                                                        vapors from materials brought into that
                                                    (b) At or from any premises, site or location
                                                                                                                        building in connection with operations
                                                         which is or was at any time used by or for
                                                                                                                        being performed by you or on your
                                                         any insured or others for the handling,
                                                                                                                        behalf      by     a     contractor    or
                                                         storage, disposal, processing or treatment
                                                                                                                        subcontractor; or
                                                         of waste;
                                                    (c) Which are or were at any time transported,                (iii) "Bodily injury" or "property damage"
                                                         handled, stored, treated, disposed of, or                      arising out of heat, smoke or fumes
                                                         processed as waste by or for:                                  from a "hostile fire".
                                                         (i) Any insured; or                                   (e) At or from any premises, site or location
                                                                                                                   on which any insured or any contractors
                                                       (ii) Any person or organization for whom                    or subcontractors working directly or
                                                             you may be legally responsible; or                    indirectly on any insured s behalf are
                                                                                                                   performing operations if the operations
                                                                                                                   are to test for,          monitor, clean up,
                                                                                                                   remove, contain, treat, detoxify or
                                                                                                                   neutralize, or in any way respond to, or
                                                                                                                   assess the effects of, "pollutants".




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                                                 (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
                                                      any:                                                        out of:
                                                     (a) Request, demand, order or statutory or                  (a) The operation of machinery or equipment
                                                         regulatory requirement that any insured or                  that is attached to, or part of, a land
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                                                         others test for, monitor, clean up, remove,                 vehicle that would qualify under the
                                                         contain, treat, detoxify or neutralize, or in               definition of "mobile equipment" if it were
                                                         any way respond to, or assess the effects                   not subject to a compulsory or financial
                                                         of, "pollutants"; or                                        responsibility law or other motor vehicle
                                                    (b) Claim or suit by or on behalf of a                           insurance law where it is licensed or
                                                         governmental authority for damages                          principally garaged; or
                                                         because of testing for, monitoring,                    (b) The operation of any of the machinery or
                                                         cleaning up, removing,           containing,                equipment listed in Paragraph f.(2) or f.(3)
                                                         treating, detoxifying or neutralizing, or in                of the definition of "mobile equipment".
                                                         any way responding to, or assessing the          h. Mobile Equipment
                                                         effects of, "pollutants".
                                                                                                               "Bodily injury" or "property damage" arising out
                                                       However, this paragraph does not apply to               of:
                                                       liability for damages because of "property
                                                       damage" that the insured would have in the             (1) The transportation of "mobile equipment" by
                                                       absence of such request, demand, order or                   an "auto" owned or operated by or rented or
                                                       statutory or regulatory requirement, or such                loaned to any insured; or
                                                       claim or "suit" by or on behalf of a                   (2) The use of "mobile equipment" in, or while in
                                                       governmental authority.                                     practice for, or while being prepared for, any
                                               g. Aircraft, Auto Or Watercraft                                     prearranged racing, speed, demolition, or
                                                                                                                   stunting activity.
                                                   "Bodily injury" or "property damage" arising out of
                                                   the ownership, maintenance, use or entrustment          i. War
                                                   to others of any aircraft, "auto" or watercraft             "Bodily injury" or "property damage", however
                                                   owned or operated by or rented or loaned to any             caused, arising, directly or indirectly, out of:
                                                   insured. Use includes operation and "loading or
                                                                                                              (1) War, including undeclared or civil war;
                                                   unloading".
                                                   This exclusion applies even if the claims against          (2) Warlike action by a military force, including
                                                   any insured allege negligence or other                         action in hindering or defending against an
                                                   wrongdoing        in   the supervision,      hiring,           actual    or expected attack, by any
                                                   employment, training or monitoring of others by                government, sovereign or other authority
                                                                                                                  using military personnel or other agents; or
                                                   that insured, if the "occurrence" which caused
                                                   the "bodily injury" or "property damage" involved          (3) Insurrection, rebellion, revolution, usurped
                                                   the ownership, maintenance, use or entrustment                 power, or action taken by governmental
                                                   to others of any aircraft, "auto" or watercraft that           authority in hindering or defending against
                                                   is owned or operated by or rented or loaned to                 any of these.
                                                   any insured.                                            j. Damage To Property
                                                   This exclusion does not apply to:                           "Property damage" to:
                                                  (1) A watercraft while ashore on premises you               (1) Property you own, rent, or occupy, including
                                                       own or rent;                                               any costs or expenses incurred by you, or
                                                  (2) A watercraft you do not own that is:                        any other person, organization or entity, for
                                                                                                                  repair, replacement, enhancement, restoration
                                                      (a) Less than 26 feet long; and
                                                                                                                  or maintenance of such property for any
                                                      (b) Not being used to carry persons or                      reason, including prevention of injury to a
                                                           property for a charge;                                 person or damage to another s property;
                                                 (3) Parking an "auto" on, or on the ways next to,            (2) Premises you sell, give away or abandon, if
                                                     premises you own or rent, provided the "auto"                the "property damage" arises out of any part
                                                     is not owned by or rented or loaned to you or                of those premises;
                                                     the insured;
                                                                                                              (3) Property loaned to you;
                                                 (4) Liability assumed under any "insured
                                                     contract" for the ownership, maintenance or
                                                     use of aircraft or watercraft; or



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                                                 (4) Personal property in the care, custody or               This exclusion does not apply to the loss of use
                                                         control of the insured;                             of other property arising out of sudden and
                                                 (5) That particular part of real property on which          accidental physical injury to "your product" or
                                                         you or any contractors or subcontractors            "your work" after it has been put to its intended
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                                                         working directly or indirectly on your behalf       use.
                                                         are performing operations, if the "property     n. Recall Of Products, Work Or Impaired Property
                                                         damage" arises out of those operations; or          Damages claimed for any loss, cost or expense
                                                 (6) That particular part of any property that must          incurred by you or others for the loss of use,
                                                         be restored, repaired or replaced because           withdrawal,     recall,    inspection,      repair,
                                                         "your work" was incorrectly performed on it.        replacement, adjustment, removal or disposal of:
                                                  Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
                                                  not apply to "property damage" (other than                (2) "Your work"; or
                                                  damage by fire) to premises, including the
                                                  contents of such premises, rented to you for a            (3) "Impaired property";
                                                  period of seven or fewer consecutive days. A               if such product, work, or property is withdrawn
                                                  separate limit of insurance applies to Damage To           or recalled from the market or from use by any
                                                  Premises Rented To You as described in Section             person or organization because of a known or
                                                  III ---- Limits Of Insurance.                              suspected defect, deficiency, inadequacy or
                                                  Paragraph (2) of this exclusion does not apply if          dangerous condition in it.
                                                  the premises are "your work" and were never            o. Personal And Advertising Injury
                                                  occupied, rented or held for rental by you.
                                                                                                             "Bodily injury" arising out of "personal and
                                                  Paragraphs (3), (4), (5) and (6) of this exclusion         advertising injury".
                                                  do not apply to liability assumed under a
                                                                                                         p. Electronic Data
                                                  sidetrack agreement.
                                                                                                             Damages arising out of the loss of, loss of use
                                                  Paragraph (6) of this exclusion does not apply to
                                                                                                             of, damage to, corruption of, inability to access,
                                                  "property damage" included in the "products-
                                                                                                             or inability to manipulate electronic data.
                                                  completed operations hazard".
                                              k. Damage To Your Product                                     However, this exclusion does not apply to liability
                                                                                                            for damages because of "bodily injury".
                                                  "Property damage" to "your product" arising out
                                                                                                            As used in this exclusion, electronic data means
                                                  of it or any part of it.
                                                                                                            information, facts or programs stored as or on,
                                               l. Damage To Your Work                                       created or used on, or transmitted to or from
                                                  "Property damage" to "your work" arising out of it        computer software, including systems and
                                                  or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
                                                  completed operations hazard".                             ROMs, tapes, drives, cells, data processing
                                                                                                            devices or any other media which are used with
                                                  This exclusion does not apply if the damaged              electronically controlled equipment.
                                                  work or the work out of which the damage arises
                                                  was performed on your behalf by a                      q. Recording And Distribution Of Material Or
                                                  subcontractor.                                            Information In Violation Of Law
                                              m. Damage To Impaired Property Or Property Not                "Bodily injury" or "property damage" arising
                                                  Physically Injured                                        directly or indirectly out of any action or
                                                                                                            omission that violates or is alleged to violate:
                                                  "Property damage" to "impaired property" or
                                                  property that has not been physically injured,            (1) The Telephone Consumer Protection Act
                                                  arising out of:                                               (TCPA), including any amendment of or
                                                                                                                addition to such law;
                                                 (1) A    defect, deficiency,     inadequacy     or
                                                     dangerous condition in "your product" or               (2) The CAN-SPAM Act of 2003, including any
                                                     "your work"; or                                            amendment of or addition to such law;
                                                 (2) A delay or failure by you or anyone acting on          (3) The Fair Credit Reporting Act (FCRA), and
                                                     your behalf to perform a contract or                       any amendment of or addition to such law,
                                                     agreement in accordance with its terms.                    including the Fair and Accurate Credit
                                                                                                                Transactions Act (FACTA); or




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                                                   (4) Any federal, state or local statute, 2. Exclusions
                                                        ordinance or regulation, other than the TCPA,     This insurance does not apply to:
                                                        CAN-SPAM Act of 2003 or FCRA and their
                                                        amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
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                                                        prohibits, or limits the printing, dissemination,     "Personal and advertising injury" caused by or
                                                        disposal, collecting, recording, sending,             at the direction of the insured with the knowledge
                                                        transmitting, communicating or distribution of        that the act would violate the rights of another
                                                        material or information.                              and would inflict "personal and advertising
                                               Exclusions c. through n. do not apply to damage by             injury".
                                               fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
                                               occupied by you with permission of the owner. A
                                                                                                              "Personal and advertising injury" arising out of
                                               separate limit of insurance applies to this coverage
                                               as described in Section III ---- Limits Of Insurance.          oral or written publication, in any manner, of
                                                                                                              material, if done by or at the direction of the
                                            COVERAGE B ---- PERSONAL AND ADVERTISING                          insured with knowledge of its falsity.
                                            INJURY LIABILITY
                                                                                                          c. Material Published Prior To Policy Period
                                            1. Insuring Agreement
                                                                                                              "Personal and advertising injury" arising out of
                                               a. We will pay those sums that the insured becomes             oral or written publication, in any manner, of
                                                    legally obligated to pay as damages because of            material whose first publication took place before
                                                    "personal and advertising injury" to which this           the beginning of the policy period.
                                                    insurance applies. We will have the right and
                                                                                                          d. Criminal Acts
                                                    duty to defend the insured against any "suit"
                                                    seeking those damages. However, we will have              "Personal and advertising injury" arising out of a
                                                    no duty to defend the insured against any "suit"          criminal act committed by or at the direction of
                                                    seeking damages for "personal and advertising             the insured.
                                                    injury" to which this insurance does not apply.       e. Contractual Liability
                                                    We may, at our discretion, investigate any
                                                    offense and settle any claim or "suit" that may           "Personal and advertising injury" for which the
                                                    result. But:                                              insured has assumed liability in a contract or
                                                                                                              agreement. This exclusion does not apply to
                                                   (1) The amount we will pay for damages is limited          liability for damages that the insured would have
                                                        as described in Section III ---- Limits Of            in the absence of the contract or agreement.
                                                        Insurance; and
                                                                                                           f. Breach Of Contract
                                                   (2) Our right and duty to defend end when we
                                                        have used up the applicable limit of insurance        "Personal and advertising injury" arising out of a
                                                        in the payment of judgments or settlements            breach of contract, except an implied contract to
                                                        under Coverages A or B or medical expenses            use      another s advertising idea in your
                                                        under Coverage C.                                     "advertisement".
                                                    No other obligation or liability to pay sums or       g. Quality Or Performance Of Goods ---- Failure To
                                                    perform acts or services is covered unless                Conform To Statements
                                                    explicitly provided for under Supplementary               "Personal and advertising injury" arising out of
                                                    Payments ---- Coverages A and B.                          the failure of goods, products or services to
                                               b. This insurance applies to "personal and                     conform with any statement of quality or
                                                    advertising injury" caused by an offense arising          performance made in your "advertisement".
                                                  out of your business but only if the offense was        h. Wrong Description Of Prices
                                                  committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
                                                  policy period.                                             the wrong description of the price of goods,
                                                                                                             products    or services      stated    in  your
                                                                                                             "advertisement".




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                                               i. Infringement Of Copyright, Patent,                      n. Pollution-related
                                                  Trademark Or Trade Secret                                   Any loss, cost or expense arising out of any:
                                                  "Personal and advertising injury" arising out of           (1) Request, demand, order or statutory or
                                                  the infringement of copyright, patent, trademark,              regulatory requirement that any insured or
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                                                  trade secret or other intellectual property rights.            others test for, monitor, clean up, remove,
                                                  Under this exclusion, such other intellectual                  contain, treat, detoxify or neutralize, or in any
                                                  property rights do not include the use of                      way respond to, or assess the effects of,
                                                  another s     advertising      idea    in     your             "pollutants"; or
                                                  "advertisement".
                                                                                                             (2) Claim or suit by or on behalf of a
                                                  However, this exclusion does not apply to                      governmental authority for damages because
                                                  infringement, in your "advertisement", of                      of testing for, monitoring, cleaning up,
                                                  copyright, trade dress or slogan.                              removing, containing, treating, detoxifying or
                                               j. Insureds In Media And Internet Type Businesses                 neutralizing, or in any way responding to, or
                                                  "Personal and advertising injury" committed by                 assessing the effects of, "pollutants".
                                                  an insured whose business is:                           o. War
                                                 (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
                                                      telecasting;                                           caused, arising, directly or indirectly, out of:
                                                  (2) Designing or determining content of web                (1) War, including undeclared or civil war;
                                                       sites for others; or                                  (2) Warlike action by a military force, including
                                                  (3) An Internet search, access, content or service             action in hindering or defending against an
                                                       provider.                                                 actual    or expected attack, by any
                                                   However, this exclusion does not apply to                     government, sovereign or other authority
                                                   Paragraphs 14.a., b. and c. of "personal and                  using military personnel or other agents; or
                                                   advertising injury" under the Definitions section.        (3) Insurrection, rebellion, revolution, usurped
                                                   For the purposes of this exclusion, the placing of            power, or action taken by governmental
                                                   frames, borders or links, or advertising, for you             authority in hindering or defending against
                                                   or others anywhere on the Internet, is not by                 any of these.
                                                   itself, considered the business of advertising,        p. Recording And Distribution Of Material Or
                                                   broadcasting, publishing or telecasting.                   Information In Violation Of Law
                                              k. Electronic Chatrooms Or Bulletin Boards                      "Personal and advertising injury" arising directly
                                                   "Personal and advertising injury" arising out of an        or indirectly out of any action or omission that
                                                   electronic chatroom or bulletin board the insured          violates or is alleged to violate:
                                                   hosts, owns, or over which the insured exercises          (1) The Telephone Consumer Protection Act
                                                   control.                                                       (TCPA), including any amendment of or
                                               l. Unauthorized Use Of Another s Name Or                           addition to such law;
                                                   Product                                                   (2) The CAN-SPAM Act of 2003, including any
                                                   "Personal and advertising injury" arising out of               amendment of or addition to such law;
                                                   the unauthorized use of another s name or                 (3) The Fair Credit Reporting Act (FCRA), and
                                                   product in your e-mail address, domain name or                any amendment of or addition to such law,
                                                   metatag, or any other similar tactics to mislead              including the Fair and Accurate Credit
                                                   another s potential customers.                                Transactions Act (FACTA); or
                                              m. Pollution                                                   (4) Any federal, state or local statute, ordinance
                                                  "Personal and advertising injury" arising out of               or regulation, other than the TCPA, CAN-
                                                  the actual, alleged or threatened discharge,                   SPAM Act of 2003 or FCRA and their
                                                  dispersal, seepage, migration, release or                      amendments        and      additions,       that
                                                  escape of "pollutants" at any time.                            addresses, prohibits, or limits the printing,
                                                                                                                 dissemination,        disposal,      collecting,
                                                                                                                 recording,        sending,        transmitting,
                                                                                                                 communicating or distribution of material or
                                                                                                                 information.




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                                            COVERAGE C ---- MEDICAL PAYMENTS                              d. Workers Compensation And Similar Laws
                                            1. Insuring Agreement                                             To a person, whether or not an "employee" of
                                               a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury" are
                                                   below for "bodily injury" caused by an accident:           payable or must be provided under a workers
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                                                                                                              compensation or disability benefits law or a
                                                  (1) On premises you own or rent;                            similar law.
                                                  (2) On ways next to premises you own or rent;           e. Athletics Activities
                                                      or
                                                                                                              To a person injured while practicing, instructing
                                                  (3) Because of your operations;                             or participating in any physical exercises or
                                                   provided that:                                             games, sports, or athletic contests.
                                                      (a) The accident takes place in the "coverage        f. Products-Completed Operations Hazard
                                                          territory" and during the policy period;           Included     within     the    "products-completed
                                                      (b) The expenses are incurred and reported             operations hazard".
                                                          to us within one year of the date of the       g. Coverage A Exclusions
                                                          accident; and
                                                                                                             Excluded under Coverage A.
                                                      (c) The      injured    person     submits   to
                                                          examination, at        our    expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
                                                          physicians of our choice as often as we B
                                                          reasonably require.                         1. We will pay, with respect to any claim we investigate
                                               b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
                                                   These payments will not exceed the applicable         a. All expenses we incur.
                                                   limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
                                                   expenses for:                                             because of accidents or traffic law violations
                                                  (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
                                                       accident;                                             Bodily Injury Liability Coverage applies. We do
                                                  (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
                                                       services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
                                                  (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
                                                       nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                                                             bonds.
                                            2. Exclusions
                                                                                                         d. All reasonable expenses incurred by the insured
                                               We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
                                               a. Any Insured                                                defense of the claim or "suit", including actual
                                                   To any insured, except "volunteer workers".               loss of earnings up to $250 a day because of
                                                                                                             time off from work.
                                               b. Hired Person
                                                                                                         e. All court costs taxed against the insured in the
                                                   To a person hired to do work for or on behalf of          "suit". However, these payments do not include
                                                   any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
                                               c. Injury On Normally Occupied Premises                       against the insured.
                                                   To a person injured on that part of premises you       f. Prejudgment interest awarded against the
                                                   own or rent that the person normally                      insured on that part of the judgment we pay. If
                                                   occupies.                                                 we   make an offer to pay the applicable limit of
                                                                                                             insurance, we will not pay any prejudgment
                                                                                                             interest based on that period of time after the
                                                                                                             offer.




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                                               g. All interest on the full amount of any judgment        So long as the above conditions are met,
                                                    that accrues after entry of the judgment and         attorneys fees incurred by us in the defense of that
                                                    before we have paid, offered to pay, or deposited    indemnitee, necessary litigation expenses incurred
                                                    in court the part of the judgment that is within the by us and necessary litigation expenses incurred by
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                                                    applicable limit of insurance.                       the indemnitee at our request will be paid as
                                               These payments will not reduce the limits of              Supplementary Payments. Notwithstanding the
                                               insurance.                                                provisions of Paragraph 2.b.(2) of Section I ----
                                                                                                         Coverage A ---- Bodily Injury And Property Damage
                                            2. If we defend an insured against a "suit" and an           Liability, such payments will not be deemed to be
                                               indemnitee of the insured is also named as a party to     damages for "bodily injury" and "property damage"
                                               the "suit", we will defend that indemnitee if all of the  and will not reduce the limits of insurance.
                                               following conditions are met:
                                                                                                         Our obligation to defend an insured s indemnitee
                                               a. The "suit" against the indemnitee seeks damages        and to pay for attorneys fees and necessary
                                                    for which the insured has assumed the liability of   litigation expenses as Supplementary Payments
                                                    the indemnitee in a contract or agreement that is    ends when we have used up the applicable limit of
                                                    an "insured contract";                               insurance in the payment of judgments or
                                               b. This insurance applies to such liability assumed       settlements or the conditions set forth above, or the
                                                    by the insured;                                      terms of the agreement described in Paragraph f.
                                               c. The obligation to defend, or the cost of the           above,   are no longer met.
                                                    defense of, that indemnitee, has also been SECTION II ---- WHO IS AN INSURED
                                                    assumed by the insured in the same "insured 1. If you are designated in the Declarations as:
                                                    contract";
                                                                                                         a. An individual, you and your spouse are insureds,
                                               d. The allegations in the "suit" and the information           but only with respect to the conduct of a
                                                    we know about the "occurrence" are such that no           business of which you are the sole owner.
                                                    conflict appears to exist between the interests of
                                                    the insured and the interests of the indemnitee;     b. A partnership or joint venture, you are an
                                                                                                              insured. Your members, your partners, and their
                                               e. The indemnitee and the insured ask us to                    spouses are also insureds, but only with respect
                                                    conduct and control the defense of that                   to the conduct of your business.
                                                    indemnitee against such "suit" and agree that we
                                                    can assign the same counsel to defend the            c. A limited liability company, you are an insured.
                                                    insured and the indemnitee; and                           Your members are also insureds, but only with
                                                                                                              respect to the conduct of your business. Your
                                                f. The indemnitee:                                            managers are insureds, but only with respect to
                                                   (1) Agrees in writing to:                                  their duties as your managers.
                                                     (a) Cooperate with us in the investigation,         d. An organization other than a partnership, joint
                                                         settlement or defense of the "suit";               venture or limited liability company, you are an
                                                     (b) Immediately send us copies of any                  insured. Your "executive officers" and directors
                                                         demands, notices, summonses or legal               are insureds, but only with respect to their duties
                                                         papers received in connection with the             as your officers or directors. Your stockholders
                                                         "suit";                                            are also insureds, but only with respect to their
                                                                                                            liability as stockholders.
                                                     (c) Notify any other insurer whose coverage
                                                         is available to the indemnitee; and             e. A trust, you are an insured. Your trustees are
                                                                                                            also insureds, but only with respect to their
                                                     (d) Cooperate with us with respect to                  duties as trustees.
                                                         coordinating other applicable insurance
                                                         available to the indemnitee; and
                                                 (2) Provides us with written authorization to:
                                                     (a) Obtain records and other information
                                                         related to the "suit"; and
                                                    (b) Conduct and control the defense of the
                                                         indemnitee in such "suit".




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                                            2. Each of the following is also an insured:                    c. Any person or organization having proper
                                               a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
                                                   duties related to the conduct of your business,              but only:
                                                   or your "employees", other than either your                 (1) With respect to liability arising out of the
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                                                   "executive officers" (if you are an organization                 maintenance or use of that property; and
                                                   other than a partnership, joint venture or limited          (2) Until your legal representative has been
                                                   liability company) or your managers (if you are a                appointed.
                                                   limited liability company), but only for acts within
                                                   the scope of their employment by you or while            d. Your legal representative if you die, but only with
                                                   performing duties related to the conduct of your             respect to duties as such. That representative will
                                                   business. However, none of these "employees"                 have all your rights and duties under this
                                                   or "volunteer workers" are insureds for:                     Coverage Part.
                                                  (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
                                                       injury":                                             than a partnership, joint venture or limited liability
                                                                                                            company, and over which you maintain ownership
                                                      (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                                                            you are a partnership or joint venture), to     there is no other similar insurance available to that
                                                            your members (if you are a limited liability    organization. However:
                                                            company), to a co-"employee" while in the
                                                            course of his or her employment or              a. Coverage under this provision is afforded only
                                                            performing duties related to the conduct            until the 90th day after you acquire or form the
                                                            of your business, or to your other                  organization or the end of the policy period,
                                                            "volunteer workers" while performing                whichever  is earlier;
                                                            duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                                                            business;                                           "property damage" that occurred before you
                                                      (b) To the spouse, child, parent, brother or              acquired  or formed the organization; and
                                                            sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                                                            worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                                                            (1)(a) above;                                       committed before you acquired or formed the
                                                      (c) For which there is any obligation to share            organization.
                                                            damages with or repay someone else who No person or organization is an insured with respect to
                                                            must pay damages because of the injury the conduct of any current or past partnership, joint
                                                            described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                                                            above; or                                    a Named Insured in the Declarations.
                                                      (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                                                            failing to provide professional health care
                                                                                                         1. The Limits of Insurance shown in the Declarations
                                                            services.
                                                                                                            and the rules below fix the most we will pay
                                                  (2) "Property damage" to property:                        regardless of the number of:
                                                      (a) Owned, occupied or used by;                       a. Insureds;
                                                      (b) Rented to, in the care, custody or control        b. Claims made or "suits" brought; or
                                                            of, or over which physical control is being     c. Persons or organizations making claims or
                                                            exercised for any purpose by;
                                                                                                                bringing "suits".
                                                       you, any of your "employees", "volunteer
                                                                                                         2. The General Aggregate Limit is the most we will pay
                                                       workers", any partner or member (if you are a
                                                                                                            for the sum of:
                                                       partnership or joint venture), or any member
                                                       (if you are a limited liability company).            a. Medical expenses under Coverage C;
                                               b. Any person (other than your "employee" or                 b. Damages under Coverage A, except damages
                                                   "volunteer worker"), or any organization while               because of "bodily injury" or "property damage"
                                                   acting as your real estate manager.                          included in the "products-completed operations
                                                                                                                hazard"; and
                                                                                                            c. Damages under Coverage B.




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                                            3. The Products-Completed Operations Aggregate                      (3) The nature and location of any injury or
                                               Limit is the most we will pay under Coverage A for                    damage arising out of the "occurrence" or
                                               damages because of "bodily injury" and "property                      offense.
                                               damage" included in the "products-completed                   b. If a claim is made or "suit" is brought against any
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                                               operations hazard".                                               insured, you must:
                                            4. Subject to Paragraph 2. above, the Personal And                  (1) Immediately record the specifics of the claim
                                               Advertising Injury Limit is the most we will pay under                or "suit" and the date received; and
                                               Coverage B for the sum of all damages because of
                                               all "personal and advertising injury" sustained by any           (2) Notify us as soon as practicable.
                                               one person or organization.                                       You must see to it that we receive written notice
                                            5. Subject to Paragraph 2. or 3. above, whichever                    of the claim or "suit" as soon as practicable.
                                               applies, the Each Occurrence Limit is the most we             c. You and any other involved insured must:
                                               will pay for the sum of:
                                                                                                                (1) Immediately send us copies of any demands,
                                               a. Damages under Coverage A; and                                      notices, summonses or legal papers received
                                               b. Medical expenses under Coverage C                                  in connection with the claim or "suit";
                                               because of all "bodily injury" and "property damage"             (2) Authorize us to obtain records and other
                                               arising out of any one "occurrence".                                  information;
                                            6. Subject to Paragraph 5. above, the Damage To                     (3) Cooperate with us in the investigation or
                                                Premises Rented To You Limit is the most we will                     settlement of the claim or defense against the
                                                pay under Coverage A for damages because of                          "suit"; and
                                                "property damage" to any one premises, while rented             (4) Assist us, upon our request, in the
                                                to you, or in the case of damage by fire, while rented               enforcement of any right against any person
                                                to you or temporarily occupied by you with                            or organization which may be liable to the
                                                permission of the owner.                                             insured because of injury or damage to which
                                            7. Subject to Paragraph 5. above, the Medical Expense                    this insurance may also apply.
                                                Limit is the most we will pay under Coverage C for           d. No insured will, except at that insured s own
                                                all medical expenses because of "bodily injury"                  cost, voluntarily make a payment, assume any
                                                sustained by any one person.                                     obligation, or incur any expense, other than for
                                            The Limits of Insurance of this Coverage Part apply                  first aid, without our consent.
                                            separately to each consecutive annual period and to           3. Legal Action Against Us
                                            any remaining period of less than 12 months, starting
                                                                                                             No person or organization has a right under this
                                            with the beginning of the policy period shown in the
                                                                                                             Coverage Part:
                                            Declarations, unless the policy period is extended after
                                            issuance for an additional period of less than 12                a. To join us as a party or otherwise bring us into a
                                            months. In that case, the additional period will be                  "suit" asking for damages from an insured; or
                                            deemed part of the last preceding period for purposes            b. To sue us on this Coverage Part unless all of its
                                            of determining the Limits of Insurance.                              terms have been fully complied with.
                                            SECTION IV ---- COMMERCIAL GENERAL LIABILITY                     A person or organization may sue us to recover on
                                            CONDITIONS                                                       an agreed settlement or on a final judgment
                                            1. Bankruptcy                                                    against an insured; but we will not be liable for
                                                                                                             damages that are not payable under the terms of
                                                Bankruptcy or insolvency of the insured or of the
                                                                                                             this Coverage Part or that are in excess of the
                                                insured s estate will not relieve us of our obligations
                                                under this Coverage Part.                                    applicable limit of insurance. An agreed settlement
                                                                                                             means a settlement and release of liability signed
                                            2. Duties In The Event Of Occurrence, Offense, Claim             by us, the insured and the claimant or the
                                                Or Suit                                                      claimant s legal representative.
                                               a. You must see to it that we are notified as soon as
                                                   practicable of an "occurrence" or an offense
                                                   which may result in a claim. To the extent
                                                   possible, notice should include:
                                                  (1) How, when and where the "occurrence" or
                                                      offense took place;
                                                  (2) The names and addresses of any injured
                                                      persons and witnesses; and


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                                            4. Other Insurance                                               (3) When this insurance is excess over other
                                               If other valid and collectible insurance is available              insurance, we will pay only our share of the
                                               to the insured for a loss we cover under Coverages                 amount of the loss, if any, that exceeds the
                                               A or B of this Coverage Part, our obligations are                  sum of:
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                                               limited as follows:                                               (a) The total amount that all such other
                                               a. Primary Insurance                                                    insurance would pay for the loss in the
                                                                                                                      absence of this insurance; and
                                                   This insurance is primary except when
                                                   Paragraph b. below applies. If this insurance is              (b) The total of all deductible and self-insured
                                                   primary, our obligations are not affected unless                   amounts under all that other insurance.
                                                   any of the other insurance is also primary. Then,         (4) We will share the remaining loss, if any, with
                                                   we will share with all that other insurance by the             any other insurance that is not described in
                                                   method described in Paragraph c. below.                        this Excess Insurance provision and was not
                                               b. Excess Insurance                                                bought specifically to apply in excess of the
                                                                                                                  Limits of Insurance shown in the Declarations
                                                  (1) This insurance is excess over:                              of this Coverage Part.
                                                      (a) Any of the other insurance, whether              c. Method Of Sharing
                                                          primary, excess, contingent or on any
                                                          other basis:                                        If all of the other insurance permits contribution
                                                                                                              by equal shares, we will follow this method also.
                                                         (i) That is Fire, Extended Coverage,                 Under this approach each insurer contributes
                                                             Builder s Risk, Installation Risk or             equal amounts until it has paid its applicable limit
                                                             similar coverage for "your work";                of insurance or none of the loss remains,
                                                        (ii) That is Fire insurance for premises              whichever comes first.
                                                             rented to you or temporarily occupied            If any of the other insurance does not permit
                                                             by you with permission of the owner;             contribution by equal shares, we will contribute
                                                       (iii) That is insurance purchased by you to            by limits. Under this method, each insurer s
                                                             cover your liability as a tenant for             share is based on the ratio of its applicable limit
                                                             "property damage" to premises rented             of insurance to the total applicable limits of
                                                             to you or temporarily occupied by you            insurance of all insurers.
                                                             with permission of the owner; or           5. Premium Audit
                                                       (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                                                             maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                                                             or watercraft to the extent not subject
                                                             to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                                                             Coverage A ---- Bodily Injury And                advance   premium is a deposit premium only. At
                                                             Property Damage Liability.                       the  close of each audit period we will compute
                                                                                                              the earned premium for that period and send
                                                    (b) Any other primary insurance available to              notice to the first Named Insured. The due date
                                                         you covering liability for damages arising           for audit and retrospective premiums is the date
                                                         out of the premises or operations, or the            shown as the due date on the bill. If the sum of
                                                         products and completed operations, for               the advance and audit premiums paid for the
                                                         which you have been added as an                      policy period is greater than the earned premium,
                                                        additional insured.                                   we will return the excess to the first Named
                                                 (2) When this insurance is excess, we will have              Insured.
                                                     no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
                                                     the insured against any "suit" if any other              the information we need for premium
                                                     insurer has a duty to defend the insured                 computation, and send us copies at such times
                                                     against that "suit". If no other insurer defends,        as we may request.
                                                     we will undertake to do so, but we will be
                                                     entitled      to     the      insured s     rights 6. Representations
                                                     against all those other insurers.                     By accepting this policy, you agree:
                                                                                                           a. The statements in the Declarations are
                                                                                                              accurate and complete;




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                                               b. Those        statements      are     based      upon      However, "auto" does not include "mobile
                                                    representations you made to us; and                     equipment".
                                               c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
                                                    representations.                                        disease sustained by a person, including death
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                                            7. Separation Of Insureds                                       resulting from any of these at any time.
                                               Except with respect to the Limits of Insurance, and       4. "Coverage territory" means:
                                               any rights or duties specifically assigned in this            a. The United States of America (including its
                                               Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
                                               insurance applies:                                                Canada;
                                               a. As if each Named Insured were the only Named              b. International waters or airspace, but only if the
                                                    Insured; and                                                 injury or damage occurs in the course of travel
                                               b. Separately to each insured against whom claim is               or transportation between any places included in
                                                    made or "suit" is brought.                                   Paragraph    a. above; or
                                            8. Transfer Of Rights Of Recovery Against Others To              c. All other parts of the world if the injury or
                                               Us                                                                damage arises out of:
                                               If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
                                               payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
                                               those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
                                               do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
                                               the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
                                               us and help us enforce them.                                          or
                                            9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
                                               If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
                                               mail or deliver to the first Named Insured shown in                   electronic means of communication;
                                               the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
                                               less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
                                               If notice is mailed, proof of mailing will be sufficient     the territory described in Paragraph a. above or in a
                                               proof of notice.                                             settlement    we agree to.
                                            SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                                                            does not include a "temporary worker".
                                            1. "Advertisement" means a notice that is broadcast or
                                               published to the general public or specific market 6. "Executive officer" means a person holding any of
                                               segments about your goods, products or services              the officer positions created by your charter,
                                               for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
                                               supporters. For the purposes of this definition:             document.
                                               a. Notices that are published include material 7. "Hostile fire" means one which becomes
                                                    placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
                                                    means of communication; and                             intended to be.
                                               b. Regarding web sites, only that part of a web site 8. "Impaired property" means tangible property, other
                                                    that is about your goods, products or services          than "your product" or "your work", that cannot be
                                                    for the purposes of attracting customers or             used or is less useful because:
                                                    supporters is considered an advertisement.               a. It incorporates "your product" or "your work" that
                                            2. "Auto" means:                                                     is known or thought to be defective, deficient,
                                                                                                                 inadequate or dangerous; or
                                               a. A land motor vehicle, trailer or semitrailer
                                                    designed for travel on public roads, including          b. You have failed to fulfill the terms of a contract or
                                                   any attached machinery or equipment; or                       agreement;
                                               b. Any other land vehicle that is subject to a               if such property can be restored to use by the
                                                    compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
                                                    other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
                                                    licensed or principally garaged.                        terms of the contract or agreement.




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                                            9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
                                               a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
                                                   that portion of the contract for a lease of           you and the labor leasing firm, to perform duties
                                                   premises that indemnifies any person or               related to the conduct of your business. "Leased
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                                                   organization for damage by fire to premises while     worker"  does not include a "temporary worker".
                                                   rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
                                                   with permission of the owner is not an "insured       property:
                                                   contract";                                            a. After it is moved from the place where it is
                                               b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
                                               c. Any easement or license agreement, except in               watercraft or "auto";
                                                   connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
                                                   operations on or within 50 feet of a railroad;            "auto"; or
                                               d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
                                                    indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
                                                    with work for a municipality;                               delivered;
                                               e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
                                                f. That part of any other contract or agreement            movement       of property by means of a mechanical
                                                    pertaining to your business (including an              device,    other  than a hand truck, that is not attached
                                                    indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
                                                    with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
                                                    which you assume the tort liability of another         of land vehicles, including any attached machinery
                                                    party to pay for "bodily injury" or "property          or equipment:
                                                    damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
                                                    liability means a liability that would be imposed           vehicles designed for use principally off public
                                                    by law in the absence of any contract or                    roads;
                                                    agreement.
                                                                                                           b. Vehicles maintained for use solely on or next to
                                                    Paragraph f. does not include that part of any              premises you own or rent;
                                                    contract or agreement:
                                                                                                           c. Vehicles that travel on crawler treads;
                                                   (1) That indemnifies a railroad for "bodily injury"
                                                        or "property damage" arising out of                d. Vehicles,        whether    self-propelled or not,
                                                        construction or demolition operations, within           maintained      primarily to provide mobility to
                                                        50 feet of any railroad property and affecting          permanently mounted:
                                                        any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
                                                        beds, tunnel, underpass or crossing;                        drills; or
                                                   (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
                                                        surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
                                                       (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                                                             or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                                                             opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                                                             change      orders or        drawings and          permanently attached equipment of the following
                                                             specifications; or                                 types:
                                                       (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                                                             to give them, if that is the primary cause of          including      spraying,     welding,    building
                                                             the injury or damage; or                               cleaning, geophysical exploration, lighting
                                                   (3) Under which the insured, if an architect,                    and well servicing equipment; or
                                                        engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
                                                        injury or damage arising out of the                         raise or lower workers;
                                                        insured s rendering or failure to render
                                                                                                            f. Vehicles not described in Paragraph a., b., c. or
                                                        professional services, including those listed
                                                                                                                d. above maintained primarily for purposes other
                                                        in (2) above and supervisory, inspection,
                                                                                                                than the transportation of persons or
                                                        architectural or engineering activities.
                                                                                                                cargo.




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                                                     However, self-propelled vehicles with the 16. "Products-completed operations hazard":
                                                     following types of permanently attached                   a. Includes all "bodily injury" and             "property
                                                     equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
                                                     considered "autos":                                           or rent and arising out of "your product" or "your
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                                                    (1) Equipment designed primarily for:                          work" except:
                                                         (a) Snow removal;                                        (1) Products that are still in your physical
                                                        (b) Road maintenance, but not construction                     possession; or
                                                              or resurfacing; or                                  (2) Work that has not yet been completed or
                                                         (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                                                                       deemed completed at the earliest of the
                                                    (2) Cherry pickers and similar devices mounted                     following times:
                                                          on automobile or truck chassis and used to
                                                          raise or lower workers; and                                 (a) When all of the work called for in your
                                                                                                                           contract has been completed.
                                                    (3) Air compressors, pumps and generators,
                                                          including     spraying,   welding,      building            (b) When all of the work to be done at the job
                                                          cleaning, geophysical exploration, lighting                      site has been completed if your contract
                                                          and well servicing equipment.                                    calls for work at more than one job site.
                                                However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
                                                land vehicles that are subject to a compulsory or                          site has been put to its intended use by
                                                financial responsibility law or other motor vehicle                        any person or organization other than
                                                insurance law where it is licensed or principally                          another contractor or subcontractor
                                                garaged. Land vehicles subject to a compulsory or                          working on the same project.
                                                financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
                                                insurance law are considered "autos".                                  correction, repair or replacement, but which
                                            13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
                                                continuous or repeated exposure to substantially the                   completed.
                                                same general harmful conditions.                               b. Does not include "bodily injury" or "property
                                            14. "Personal and advertising injury" means injury,                    damage" arising out of:
                                                including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
                                                one or more of the following offenses:                                 injury or damage arises out of a condition in
                                                 a. False arrest, detention or imprisonment;                           or on a vehicle not owned or operated by
                                                                                                                       you, and that condition was created by the
                                                b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
                                                 c. The wrongful eviction from, wrongful entry into,                   insured;
                                                     or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
                                                     room, dwelling or premises that a person                          or abandoned or unused materials; or
                                                     occupies, committed by or on behalf of its
                                                     owner, landlord or lessor;                                   (3)  Products      or operations for which the
                                                                                                                       classification, listed in the Declarations or in a
                                                d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
                                                     material that slanders or libels a person or                      completed operations are subject to the
                                                     organization or disparages a person s or                          General Aggregate Limit.
                                                     organization s goods, products or services;
                                                                                                           17. "Property damage" means:
                                                 e. Oral or written publication, in any manner, of
                                                     material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                                                                   resulting loss of use of that property. All such
                                                 f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
                                                     "advertisement"; or                                           of the physical injury that caused it; or
                                                g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
                                                     or slogan in your "advertisement".                            physically injured. All such loss of use shall be
                                            15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
                                                thermal irritant or contaminant, including smoke,                  that caused it.
                                                vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
                                                waste. Waste includes materials to be recycled,                is not tangible property.
                                                reconditioned or reclaimed.




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                                                As used in this definition, electronic data means       b. Includes:
                                                information, facts or programs stored as or on,            (1) Warranties or representations made at any
                                                created or used on, or transmitted to or from                  time with respect to the fitness, quality,
                                                computer      software, including systems and                  durability, performance or use of "your
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                                                applications software, hard or floppy disks, CD-               product"; and
                                                ROMs, tapes, drives, cells, data processing devices
                                                or any other media which are used with                     (2) The   providing of or failure to provide
                                                electronically controlled equipment.                           warnings   or instructions.
                                            18. "Suit" means a civil proceeding in which damages        c. Does not include vending machines or other
                                                because of "bodily injury", "property damage" or            property rented to or located for the use of
                                                "personal and advertising injury" to which this             others but not sold.
                                                insurance applies are alleged. "Suit" includes:     22. "Your work":
                                                a. An arbitration proceeding in which such              a. Means:
                                                    damages are claimed and to which the insured
                                                    must submit or does submit with our consent; or        (1) Work or operations performed by you or on
                                                                                                               your behalf; and
                                                b. Any other alternative dispute resolution
                                                                                                           (2) Materials, parts or equipment furnished in
                                                    proceeding in which such damages are claimed
                                                                                                               connection with such work or operations.
                                                    and to which the insured submits with our
                                                    consent.                                            b. Includes:
                                            19. "Temporary worker" means a person who is                  (1) Warranties or representations made at any
                                                furnished to you to substitute for a permanent                time with respect to the fitness, quality,
                                                "employee" on leave or to meet seasonal or short-             durability, performance or use of "your work";
                                                term workload conditions.                                     and
                                            20. "Volunteer worker" means a person who is not your         (2) The providing of or failure to provide
                                                "employee", and who donates his or her work and               warnings or instructions.
                                                acts at the direction of and within the scope of
                                                duties determined by you, and is not paid a fee,
                                                salary or other compensation by you or anyone else
                                                for their work performed for you.
                                            21. "Your product":
                                                a. Means:
                                                 (1) Any goods or products, other than real
                                                      property, manufactured, sold, handled,
                                                      distributed or disposed of by:
                                                     (a) You;
                                                    (b) Others trading under your name; or
                                                     (c) A person or organization whose business
                                                          or assets you have acquired; and
                                                 (2) Containers (other than vehicles), materials,
                                                      parts or equipment furnished in connection
                                                      with such goods or products.




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                                                                                                         Policy Number
                                                                                                         GLO 0220071-00
                                                                                   ENDORSEMENT

                                                           ZURICH AMERICAN INSURANCE COMPANY
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                                             Named Insured     WESTAR ENERGY, INC.                       Effective Date:     01-01-18
                                                                                                                   12:01 A.M., Standard Time
                                             Agent Name        AON RISK SERVICES SOUTHWEST INC           Agent No.        14340-000
                                                                             NOTICE OF OCCURRENCE
                                             THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED BY THE FOLLOWING:
                                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                             THE FOLLOWING IS ADDED TO SECTION IV - COMMERCIAL GENERAL LIABILITY
                                             CONDITIONS, PARAGRAPH 2 – DUTIES IN THE EVENT OF OCCURRENCE, OFFENSE,
                                             CLAIM OR SUIT:
                                             G.    IF YOU REPORT AN "OCCURRENCE", OFFENSE, CLAIM OR "SUIT" TO
                                                   ANOTHER INSURER AND LATER DISCOVER THAT YOU SHOULD HAVE REPORTED
                                                   THE "OCCURRENCE", OFFENSE, CLAIM OR "SUIT" TO US, WE WILL NOT
                                                   CONSIDER YOUR FAILURE TO REPORT THE "OCCURRENCE", OFFENSE, CLAIM
                                                   OR "SUIT" EARLIER A VIOLATION OF YOUR DUTIES IN THE EVENT
                                                   OF "OCCURRENCE", OFFENSE, CLAIM OR "SUIT" AS LONG AS YOU GIVE US
                                                   NOTICE AS SOON AS YOU ARE AWARE THAT THE "OCCURRENCE", OFFENSE,
                                                   CLAIM OR "SUIT" SHOULD HAVE BEEN REPORTED TO US.




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                                            Unintentional Failure to Disclose Hazards
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                                                 Policy No.         Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer       Add’l Prem.      Return Prem.
                                               GLO 0220071-00         01/01/2018          01/01/2019                            14340000




                                                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Form


                                            Any unintentional error or omission in the description of, or failure to completely describe, any premises or operations intended
                                            to be covered by this Commercial General Liability Coverage Form will not invalidate or affect coverage for those premises or
                                            operations. However, you must report such error or omission to us as soon as practicable after its discovery.




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                                            Bodily Injury Redefined
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                                              GLO 0220071-00         01/01/2018          01/01/2019                            14340000




                                                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Form


                                            The definition of "bodily injury" in SECTION V – DEFINITIONS is replaced by the following:


                                            3. "Bodily injury" means bodily injury, sickness or disease sustained by a person. This includes mental anguish, mental injury,
                                            shock, fright or death resulting from bodily injury, sickness or disease.




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                                            Fungi Or Bacteria Exclusion Endorsement


                                                   Policy No.         Eff. Date of Pol.   Exp. Date of Pol.     Eff. Date of End.         Producer          Add’l Prem.      Return Prem.
                                                 GLO 0220071-00         01/01/2018          01/01/2019                                   14340000




                                                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part

                                            The following exclusion is added to paragraph 2. Exclusions of Section I. – Coverage A – Bodily Injury And Property
                                            Damage Liability and paragraph 2. Exclusions of Coverage B – Personal And Advertising Injury Liability:

                                            2.    Exclusions

                                                  This insurance does not apply to:
                                                  Fungi or Bacteria
                                                  A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
                                                     alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
                                                      1.   "Fungi"or "bacteria"; or
                                                      2.   Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
                                                  B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
                                                     detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
                                                     or "bacteria", by any insured or by any other person or entity.
                                                  C. For the purposes of this exclusion, the following definitions are added:
                                                      1.   "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
                                                           byproducts produced or released by fungi.
                                                      2.   "Spores" means reproductive bodies produced by or arising out of "fungi".
                                                      3.   "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
                                                           bacteria.
                                                  This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
                                                  product intended for human or animal consumption.




                                                                                                                                                                     U-GL-1171-AC W (07/03)
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                                            Earlier Notice of Cancellation or Non-Renewal
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                                                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                                                                   SCHEDULE

                                            1. Number of days required for notice of non-renewal (other than for nonpayment of premium): 90
                                               (If the number of days is not provided above, please see the nonrenewal provisions of your policy.)

                                            2. Number of days required for notice of cancellation (other than for nonpayment of premium): 90
                                               (If the number of days is not provided above, please see the cancellation provisions of your policy.)

                                            3. Number of days required for notice of cancellation (for nonpayment of premium): 10
                                               (If the number of days is not provided above, please see the cancellation provisions of your policy.)




                                            A. For any statutorily permitted reason for non-renewal other than nonpayment of premium, the number of
                                               days required for notice of non-renewal, as provided in the Commercial General Liability Conditions, as
                                               amended by an applicable state endorsement or as provided by an applicable state’s change in coverage
                                               regulation is increased to the number of days shown in Paragraph 1. in the Schedule above.

                                            B. For any statutorily permitted reason for cancellation other than nonpayment of premium, the number of
                                               days required for notice of cancellation, as provided in the Common Policy Conditions, as amended by an
                                               applicable state endorsement or as provided by an applicable state’s change in coverage regulation is
                                               increased to the number of days shown in Paragraph 2. in the Schedule above.

                                            C. For nonpayment of premium, the number of days required for notice of cancellation, as provided in the
                                               Common Policy Conditions, as amended by an applicable state endorsement or as provided by an
                                               applicable state’s change in coverage regulation is increased to the number of days shown in Paragraph 3.
                                               in the Schedule above.

                                            All other terms and conditions of your policy remain the same.




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                                            Combined Aggregate Deductible

                                                Policy No.            Eff. Date of       Eff. Date of
                                                                          Pol.               End.
                                              GLO 0220071-00           01/01/2018



                                                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part
                                            Employee Benefits Liability Coverage Part
                                            Liquor Liability Coverage Part
                                            Stop Gap Employers Liability Coverage Part

                                                                                                   DEDUCTIBLE SCHEDULE

                                                                          Coverage                               Deductible Amount             Basis
                                            Coverage         A.   "Bodily Injury" and "Property Damage"
                                                                  Liability
                                                                  All persons or organizations                                       Each "Occurrence"
                                                                  "Bodily Injury" Liability Only
                                                                  All persons or organizations                                       Each "Occurrence"
                                                                  "Property Damage" Liability Only
                                                                  All persons or organizations                                       Each "Occurrence"
                                                                  "Bodily Injury" and "Property Damage"
                                            Coverage         A.   Liability                                                          Each Claim

                                                                  "Bodily Injury" Liability Only                                     Each Claim

                                                                  "Property Damage" Liability Only                                   Each Claim
                                            Coverage         B.   "Personal and Advertising Injury" Liability
                                                                  By offense – Any one person or organization                        Each Claim
                                            Coverage         C.   Medical Payments                                                   Any One Person
                                            Additional                                                                               Each Act, Error or
                                            Coverage              Employee Benefits Liability                                        Omission
                                            Additional
                                            Coverage              Liquor Liability                                                   Each Common Cause
                                            Additional            Stop Gap Employers Liability                                       Each Accident
                                            Coverage              Stop Gap Employers Liability - disease                             Each "Employee"




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                                                                   ALLOCATED LOSS ADJUSTMENT EXPENSE SELECTION SCHEDULE
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                                                        Select One
                                            Option 1          X         As respects each Deductible Amount, you will reimburse us for all "allocated loss
                                                                        adjustment expense", even if there is no payment for other than "allocated loss
                                                                        adjustment expense". "Allocated loss adjustment expense" reimbursements will
                                                                        contribute toward your Deductible Amount as shown in the Deductible Schedule
                                                                        and your Combined Aggregate Deductible Amount as shown in the Combined
                                                                        Aggregate Deductible Schedule.
                                            Option 2                    As respects each Deductible Amount, you will reimburse us for "allocated loss
                                                                        adjustment expense" as follows:
                                                                        (a)   If the total amount payable for other than "allocated loss adjustment expense"
                                                                              as respects the basis for each Deductible Amount is equal to or less than the
                                                                              Deductible Amount(s) or if there is no amount payable other than "allocated
                                                                              loss adjustment expense", then you will reimburse us for all "allocated loss
                                                                              adjustment expense". "Allocated loss adjustment expense" reimbursements
                                                                              will not contribute toward either your Deductible Amount as shown in the
                                                                              Deductible Schedule or your Combined Aggregate Deductible Amount as
                                                                              shown in the Combined Aggregate Deductible Schedule; or
                                                                        (b)   If the total amount payable for other than "allocated loss adjustment expense"
                                                                              exceeds the Deductible Amount, you will reimburse us a pro-rata share of total
                                                                              "allocated loss adjustment expense" based on the ratio of the Deductible
                                                                              Amount divided by the total amount payable for other than "allocated loss
                                                                              adjustment expense" as respects the basis for each Deductible Amount.
                                                                              "Allocated loss adjustment expense" reimbursements will not contribute toward
                                                                              either your Deductible Amount as shown in the Deductible Schedule or your
                                                                              Combined Aggregate Deductible Amount as shown in the Combined
                                                                              Aggregate Deductible Schedule.
                                            Option 3                    As respects each Deductible Amount, you will reimburse us for all "allocated loss
                                                                        adjustment expense", even if there is no payment for other than "allocated loss
                                                                        adjustment expense". "Allocated loss adjustment expense" reimbursements will not
                                                                        contribute toward either your Deductible Amount as shown in the Deductible
                                                                        Schedule or your Combined Aggregate Deductible Amount as shown in the
                                                                        Combined Aggregate Deductible Schedule.

                                            If no option is selected, Option 3 will apply.

                                            A. How the Deductible Amount Applies

                                               You will reimburse us for the Deductible Amount(s) shown in the Deductible Schedule and for "allocated loss
                                               adjustment expenses" incurred based on the Allocated Loss Adjustment Expense Selection Schedule. The
                                               Deductible Amount(s) applies as follows:

                                               1. If an Each Occurrence Deductible is shown, the Deductible Amount applies to all sums payable because of any
                                                  one "occurrence", regardless of the number of persons or organizations who sustain damages because of that
                                                  "occurrence".

                                               2. If an Each Claim Deductible is shown, the Deductible Amount applies to all sums payable for each claim,
                                                  sustained by any one person or organization.

                                                       a. For Other than Coverage B, to all sums payable for each claim, sustained by any one person or
                                                          organization, and

                                                       b. For Coverage B, to all damages sustained by any one person or organization as the result of an offense.


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                                               3. Medical Payments - If an Any One Person limit is shown, the Deductible Amount applies to all sums payable to
                                                  any one person as a result of an accident sustained by that person.
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                                               4. Employee Benefits Liability - If an Each Act, Error or Omission Deductible is shown, the Deductible Amount
                                                  applies to all sums payable for all damages sustained by any one employee, including the employee's
                                                  dependents and beneficiaries, because of acts, errors or omissions committed in the administration of employee
                                                  benefit programs.

                                               5. Liquor Liability - If a Common Cause Deductible is shown, the Deductible Amount applies to all sums payable for
                                                  all injury sustained by one or more persons or organizations as the result of the selling, serving or furnishing of
                                                  any alcoholic beverage to any one person.

                                               6. Stop Gap Employers Liability - If an Each Accident Deductible is shown, the Deductible Amount applies to all
                                                  sums payable as the result of an accident, regardless of the number of people who sustain damages because of
                                                  that accident.

                                               7. Stop Gap Employers Liability - disease - If an Each Employee Deductible is shown, the Deductible Amount
                                                  applies to all sums payable because of any one disease, and applies separately to each affected employee.

                                            B. Deductible Provisions

                                               1. If more than one Deductible Amount applies to sums payable arising from the same "incident" because more than
                                                  one Coverage applies, you will be responsible for each and every applicable Deductible Amount.

                                               2. Deductible Amount(s) apply separately to each consecutive annual period and to any remaining period of less
                                                  than 12 months, starting with the beginning of the policy period shown in the Declarations.

                                               3.   Your obligation to pay the Deductible Amount(s) shown on this policy is not fulfilled by:

                                                    a. The payment of a Deductible Amount under any other policy; or

                                                    b. Any payment made by us or another insurance company;

                                                    even if 3a. or 3b. above applies to the same "incident" as the Deductible Amount due under this policy.

                                               4. If more than one policy issued by us applies to sums payable because of a single continuous "incident", the
                                                  Deductible Amount(s) applies separately to each policy that we issue to which this endorsement or a similar
                                                  Deductible Endorsement applies. Deductible Amounts also apply separately to each annual period and any
                                                  remaining period of less than 12 months as described in B.2. above.

                                               5. If a Coverage Part or Additional Coverage of this policy specifically applies a separate deductible(s):

                                                    a. the separate additional deductible amount applies to any loss separately and before the Deductible Amount(s)
                                                       shown on the Schedule of this endorsement; and

                                                    b. the Deductible Amount(s) shown on the Schedule of this endorsement applies only if the loss exceeds the
                                                       separate additional deductible amount described in 5.a. above, subject to the other terms and conditions of
                                                       this endorsement.

                                            C. Combined Aggregate Deductible Amount

                                                1. The Combined Aggregate Deductible Amount shown in the Combined Aggregate Deductible Schedule for all
                                                   policies listed in the Combined Aggregate Deductible Schedule, is the most you must reimburse us for the
                                                   sum of:

                                                     a. all applicable Deductible Amount(s) as shown in each policy's Deductible Schedule that are included in
                                                        each policy's Combined Aggregate Deductible Endorsement(s); and
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                                                    b. all applicable "allocated loss adjustment expense" in accordance with each policy's Allocated Loss
                                                       Adjustment Expense Selection Schedule(s) that are included in each policy's Combined Aggregate
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                                                       Deductible Endorsement(s).

                                                    This single Combined Aggregate Deductible Amount applies to the entire policy period and to any remaining ex-
                                                    tension period of any policies.

                                                2. The Combined Aggregate Deductible Amount is adjustable. The final Combined Aggregate Deductible Amount
                                                   will be determined at the end of the policy period by an audit of your records, and will be based upon the sum of:
                                                   the Rate(s) shown in the Combined Aggregate Deductible Schedule multiplied by the final audited
                                                   Exposure(s), for each of the policies included in the Combined Aggregate Deductible Schedule. The amount
                                                   shown in the Combined Aggregate Deductible Schedule as the Combined Aggregate Deductible Amount is
                                                   an estimated amount, and is based on an estimate of what the audit of your records will develop.

                                                    In no event will the final audited Combined Aggregate Deductible Amount be less than the Combined Aggregate
                                                    Deductible Amount shown in the Combined Aggregate Deductible Schedule, unless a Minimum Combined
                                                    Aggregate Deductible Amount is shown in the Combined Aggregate Deductible Schedule. If a Minimum
                                                    Combined Aggregate Deductible Amount is shown, the final audited Combined Aggregate Deductible Amount
                                                    will not be less than the Minimum Combined Aggregate Deductible Amount.

                                            D. Allocated Loss Adjustment Expense Reimbursement

                                               In accordance with the Allocated Loss Adjustment Expense Selection Schedule:

                                               1. If Option 1 is selected, "allocated loss adjustment expense" reimbursements made by you contribute to your
                                                  Deductible Amount and Combined Aggregate Deductible Amount.

                                               2. If Option 2 or Option 3 is selected, then you will reimburse us for all or pro-rata "allocated loss adjustment
                                                  expense", as may apply, in accordance with the Allocated Loss Adjustment Expense Selection Schedule
                                                  above, even if the Deductible Amount or the Combined Aggregate Deductible Amount, if applicable, is exceeded.

                                            E. Application of the Deductible Amount to Payable Amounts

                                               1. You will reimburse us for "allocated loss adjustment expense" according to the option selected in the Allocated
                                                  Loss Adjustment Expense Selection Schedule.

                                               2. Upon settlement or final adjudication of a claim, we will apply the Deductible Amount against payable amounts as
                                                  follows:

                                                   a. Sums paid other than those attributable to "allocated loss adjustment expense"; then

                                                   b. "Allocated loss adjustment expense" already reimbursed by you; then

                                                   c.   "Allocated loss adjustment expense" yet to be reimbursed by you, if applicable.

                                            F. Effect of Deductible Amount on Limits of Insurance

                                               The applicable limits of insurance for the coverage part to which a Deductible Amount applies will be reduced only by
                                               that portion of the Deductible Amount that is not attributable to "allocated loss adjustment expenses".

                                            G. Conditions

                                               1. Voluntary Payments

                                                   If you voluntarily make any payment, assume any obligation or incur any expense, without our consent, then you
                                                   do so at your own cost. Any such voluntary payment, assumed obligation or incurred expense does not contribute
                                                   towards any applicable Deductible Amount(s) or Combined Aggregate Deductible Amount under this policy.
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                                                 2. Application of Recovered Amounts
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                                                     We have your rights and the rights of persons entitled to the benefits of this insurance to recover sums that are
                                                     reimbursable under this endorsement from anyone liable for the injury or damages. You will do everything
                                                     necessary to protect those rights for us and to help us enforce them.

                                                     If we recover any payment made under this policy from anyone liable for injury or damages, the recovered
                                                     amount will first be applied to any payments made by us in excess of the Deductible Amount. The remainder of
                                                     the recovery, if any, will then be applied to reduce the Deductible Amount reimbursed or reimbursable by you as
                                                     respects that injury or damages.

                                                 3. Payment of Amounts Owed Under This Endorsement
                                                     a. We may pay any part or all of any Deductible Amount(s) or "allocated loss adjustment expense" to effect
                                                        settlement of any claim and, upon notification of the action taken you will reimburse us for such part of any
                                                        Deductible Amount(s) or "allocated loss adjustment expense" as shown on the billing from us. You must pay
                                                        us for all amounts for which you are responsible under this endorsement and reimburse us for any such
                                                        amounts that we pay by the due date shown on the billing from us.

                                                     b. If you fail to reimburse us for any amounts as required by this endorsement or policy, we may cancel this
                                                        policy for nonpayment in accordance with the applicable law. Cancellation of this policy does not relieve you
                                                        from any deductible obligations reimbursable by you.

                                                     c.   The first Named Insured shown in the Declarations is authorized to and will reimburse us for all amounts paid
                                                          by us on behalf of all "insureds".

                                                     d. Each Named Insured is jointly and severally liable for all reimbursements due to us under this endorsement,
                                                        whether or not that Named Insured is involved in the claim, proceeding or "suit" causing any such amount to
                                                        be due to us.

                                            H. Definitions
                                                 1. "Allocated loss adjustment expense" is an expense directly allocable to a specific claim including but not limited
                                                    to: all supplementary payments as set forth in this policy; all court costs, fees and expenses; all costs, fees and
                                                    expenses for or incurred in connection with all attorneys, witnesses, experts, depositions, reported or recorded
                                                    statements, summonses, service of process, legal transcripts or testimony, copies of any public records;
                                                    alternative dispute resolution proceedings; interest; investigative services, non-employee adjusters, medical
                                                    examinations, autopsies, medical cost containment; declaratory judgment, subrogation claims and proceedings,
                                                    and any other fees, costs or expenses reasonably chargeable to the investigation, negotiation, settlement or
                                                    defense of a claim or a loss under this policy.

                                                 2. "Incident", for purposes of this endorsement only, means an "occurrence", offense, claim, accident, act, error or
                                                    omission, common cause, disease or any other event, as defined or used in our policy, to which a Deductible
                                                    Amount(s) applies.

                                            I.   Other Terms

                                                 1. The terms of this insurance apply irrespective of the application of any Deductible Amount(s), including those with
                                                    respect to:

                                                     a. Our right and duty to investigate or defend the Insured against any "suits" seeking those damages; and

                                                     b. Your duties in the event of a claim or circumstances likely to result in a claim.

                                                 2. You understand that your duties under this endorsement may continue after this policy expires or is cancelled.




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                                            Lead Liability Exclusion

                                                 Policy No.         Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer       Add’l Prem.      Return Prem.
                                               GLO 0220071-00         01/01/2018          01/01/2019                            14340000



                                                              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part




                                            The following exclusion is added to Paragraph 2. Exclusions, of Section I - Coverage A - Bodily Injury And Property Dam-
                                            age Liability and Paragraph 2. Exclusions, of Coverage B - Personal And Advertising Injury Liability:
                                            This insurance does not apply to:
                                            Lead
                                            (1) "Bodily injury", "property damage" or "personal and advertising injury" arising out of, resulting from, caused by or related
                                                to: the actual, alleged or threatened:
                                                (a) Exposure to or existence of lead, paint containing lead, or any other material, product or substance containing lead; or
                                                (b) Manufacture, distribution, sale, resale, re-branding, installation, repair, removal, encapsulation, abatement, replacement
                                                    or handling of lead, paint containing lead, or any other material, product or substance containing lead,
                                                whether the lead is or was at any time airborne, ingested, inhaled, absorbed, transmitted in any fashion, or found in any form
                                                whatsoever, or whether any other cause, event, material, product or substance contributed concurrently or in any sequence to
                                                the injury or damage.;
                                            (2) Any sums that any insured or other entity must pay, repay or reimburse because of any:
                                                (a) Request, demand, order or statutory or regulatory requirement that any insured or others test for, sample, monitor, clean
                                                    up, remove, abate, cover, contain, treat, mitigate, or neutralize lead, paint containing lead, or any other material, product
                                                    or substance containing lead, or in any way respond to, or assess the effects of lead in any form; or
                                                (b) Claim or "suit" for damages relating to testing for, sampling, monitoring, cleaning up, removing, abating, covering, con-
                                                    taining, treating, mitigating, or neutralizing lead, paint containing lead, or any other material, product or substance con-
                                                    taining lead or in any way responding to or assessing the effects of lead in any form.
                                            (3) Any other loss, cost or expense arising out of, caused by or relating in any way to lead.




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                                            Named Insured – Owner Controlled Insurance Program

                                                   Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.         Add’l. Prem         Return Prem.
                                                GLO 0220071-00       01/01/2018           01/01/2019                                    14340000




                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                            A. The following is added to Section II – Who Is An Insured:
                                                1. Subject to Paragraph 2. below, a contractor of any tier will qualify as a Named Insured, if such contractor:
                                                    a. Is enrolled in the Owner Controlled Insurance Program for which this policy is provided; and
                                                    b. Performs operations at a "designated project".
                                                2. Unless added by separate endorsement, the following are not an insured under this policy:
                                                    a. Vendors, suppliers, material dealers, abatement contractors, blasting contractors, delivery persons, haulers,
                                                       hazardous waste removal contractors;
                                                    b. Any person or organization that manufactures or fabricates products or components outside the "designated
                                                       project" that does not also install the product or component at the "designated project"; or
                                                    c. Any contractor or other person or organization that does not have dedicated payroll for employees on-site at
                                                       the "designated project".
                                                3. The person or organization shown in the Declarations of this policy is not an insured for "bodily injury", "property
                                                   damage" or "personal and advertising injury" arising from its own acts or omissions. Such person or organization
                                                   is a Named Insured only for liability arising from the acts or omissions of the Named Insureds described in
                                                   Paragraph 1. above.
                                            B. For purposes of this endorsement, "designated project" is defined in the Limitation of Coverage to Designated
                                               Project(s) endorsement (U-GL-1305) attached to this Coverage Part.


                                            All other terms and conditions of this policy remain unchanged.




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                                            Incidental Medical Malpractice
                                            Coverage Endorsement
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                                                                                                                                                     $                    $



                                                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            Commercial General Liability Coverage Part




                                            I.   Sections 2.a.(1)(d) of Section II. WHO IS AN INSURED are deleted and replaced by the following:
                                                 2.   Each of the following is also an insured:
                                                      a.   Your "volunteer workers" only while performing duties rela ted to the conduct of your business, or your "employ-
                                                           ees", other than either your "executive officers" (if you are an organiza tion other than a partnership, joint venture
                                                           or limited liability company) or your managers (if you are a limited liability company), but only for acts within
                                                           the scope of their employment by you or while performing duties rela ted to the conduct of your business. How-
                                                           ever, none of these "employees" or "volunteer workers" are insured for:
                                                           (1) "Bodily injury" or "personal and advertising injury":
                                                                    (d) Arising out of his or her providing or failing to provide professional health care services, except any
                                                                        "bodily injury" or "personal and advertising injury" arising out of emergency cardiopulmonary resus-
                                                                        cita tion (CPR) or first aid services performed by any other employee of yours who is not a licensed
                                                                        medical professional.
                                            II. Any insurance coverage provided by this endorsement is excess over any other valid and collectible insurance.




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                                            Asbestos Exclusion Endorsement


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                                                 GLO 0220071-00        01/01/2018           01/01/2019                                   14340000



                                                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:

                                            Commercial General Liability Coverage Part



                                            The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A – Bodily Injury And Property Damage
                                            Liability and Coverage B - Personal And Advertising Injury Liability:
                                            2.    Exclusions
                                                  This insurance does not apply to:
                                                  Asbestos
                                                  A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have occurred,
                                                     in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching, friability,
                                                     flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product contributed
                                                     concurrently or in any sequence to the injury or damage; or
                                                  B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
                                                      1.   Request, demand, order, statutory or regulatory requirement, direction or determination that any insured or others
                                                           test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other action re-
                                                           garding asbestos; or
                                                      2.   Claim or "suit" for damages arising out of or relating in any way to any request, demand, order, statutory or regula-
                                                           tory requirement, direction or determination that any insured or others test for, investigate, monitor, clean up, re-
                                                           move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
                                                  C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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                                            Sole Agent for Insureds

                                                   Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.         Add’l. Prem      Return Prem.
                                                GLO 0220071-00       01/01/2018           01/01/2019                                    14340000



                                            Named Insured / Mailing Address:                                       Producer:




                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                            It is agreed that this policy is issued at the direction of the first Named Insured, which shall be solely responsible for the
                                            payment of premiums and losses under the deductible amount as outlined in the policy and shall have other policy rights
                                            to act on behalf of insureds. The insureds have assigned to the first Named Insured:


                                            1. The rights, title, and interest to receive any and all return of premium, dividends, discounts or other adjustments; and
                                            2. The right to request cancellation of the policy; and
                                            3. Authorization to act on their behalf as respects changes to any provisions of this insurance policy.


                                            We consent to such assignment of rights, title and interest.



                                            Other Terms


                                            All other terms and conditions of the policy not changed by the provisions of this endorsement continue to apply as
                                            currently written.




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                                            Joint Defense -- Wrap-up

                                                Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.     Producer No.          Add’l. Prem          Return Prem.




                                            Named Insured / Mailing Address:                                     Producer:




                                                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                            The following is added to SECTION IV ---- COMMERCIAL GENERAL LIABILITY CONDITIONS:

                                            7. Separation of Insureds part b. is replaced with the following:

                                            b. Separately to each insured against whom claim is made or "suit" is brought, however;

                                                    (1) Absent an actual conflict of interest between two insureds, we shall have the right to retain one
                                                        counsel to defend all such insureds in a joint defense.

                                                        An actual conflict of interest shall be deemed to exist only when the following circumstances
                                                        exist:

                                                             (a). A insured against whom claim is made or "suit" is brought performed work or furnished
                                                             materials, parts or equipment in connection with such work on a specific portion of the
                                                             construction project on which any other insured also performed work or furnished materials,
                                                             parts or equipment in connection with that same specific portion of the construction project;
                                                             and

                                                             (b). An apportionment of responsibility will occur between the insureds for "bodily injury" or
                                                             "property damage" alleged to have been concurrently, jointly or consecutively caused in
                                                             connection with that same specific portion of the construction project.

                                                    (2) An actual conflict of interest may be waived by the insured in writing.




                                                                                                                                                                        U-GL-1300- A CW (01/ 07)
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                                                                                                                                                                   ZAIC000213
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                                            Damage to the Project Exclusion
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                                                 Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.     Producer No.          Add’l. Prem         Return Prem.




                                                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                            Solely with respect to any "designated project", exclusion j. of Paragraph 2. Exclusions of Section I --- Coverage A ---- Bodily
                                            Injury And Property Damage Liability is replaced by the following:
                                            2.   Exclusions
                                                 This insurance does not apply to:
                                                 j.   Damage to Property
                                                      "Property damage" to:
                                                      (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                                          organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                                          any reason, including prevention of injury to a person or damage to another’s property;
                                                      (2) Premises you sell, give away or abandon, if the "property damage" arises out of any part of those premises;
                                                      (3) Property loaned to you;
                                                      (4) Personal property in the care, custody or control of any insured;
                                                      (5) Any part of any "designated project(s)", including materials, machinery and equipment intended to become a
                                                          part of the "designated project(s)", if such "property damage" occurs during the course of construction; or
                                                      (6) That particular part of any property that must be restored, repaired or replaced because "your work" was
                                                          incorrectly performed on it.
                                                      Paragraphs (1) and (3) of this exclusion do not apply to "property damage" (other than damage by fire) to
                                                      premises, including the contents of such premises, rented to you for a period of 7 or fewer consecutive days. A
                                                      separate limit of insurance applies to Damage To Premises Rented To You as described in Section III ---- Limits Of
                                                      Insurance.
                                                      Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never occupied, rented or
                                                      held for rental by you.
                                                      Paragraphs (3), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                                      Paragraph (6) of this exclusion does not apply to "property damage" included in the "products-completed
                                                      operations hazard".



                                            All other terms and conditions of this policy remain unchanged.


                                                                                                                                                                         U-GL-1301-B-CW (04/ 11)
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                                                                                                                                                                ZAIC000214
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                                            Limitation of Coverage to Designated Project(s)


                                                    Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.         Add’l. Prem      Return Prem.
                                                 GLO 0220071-00       01/01/2018           01/01/2019                                    14340000


                                            Named Insured / Mailing Address:                                            Producer:



                                                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            This endorsement modifies insurance provided under the:
                                            Commercial General Liability Coverage Part


                                                                                                   SCHEDULE
                                            Project: All construction operations associated with the project(s) endorsed on to this policy via the Designated Project-
                                            Declarations endorsement, or the following project(s) to be included in the Program:


                                            Designated Project(s)
                                              SEE U-GU-618-A SCHEDULE OF LOCATIONS.




                                            "Designated Project" means:

                                            The project shown in this SCHEDULE, including operations on and off the project site or location that are necessary or
                                            incidental to the project as described in contract documents. "Designated Project" includes the work site(s) associated
                                            with such "designated project(s)" and any offsite staging areas, as long as they are dedicated solely to the "designated
                                            project(s)". Also included are those areas immediately adjacent to the "designated projects", including boundaries of local
                                            streets or public easement, in which the enrolled subcontractors at any tier perform work under their respective contracts.

                                            (If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
                                            applicable to this endorsement.)

                                            1.   The insurance provided by this policy applies only to "bodily injury", "property damage", "personal and advertising
                                                 injury" and medical expenses arising out of the "designated project(s)" shown in the SCHEDULE above.

                                            2.       For purposes of this insurance, "Designated Project" does not include:
                                                             (1) "Your work" at other projects or project site(s) or locations not shown in the SCHEDULE above;
                                                             (2) Your other operations that are not connected to or do not emanate from the project shown in the
                                                                 SCHEDULE above, including operations at your permanent locations; or



                                                                                                                                                                       U-GL-1305- A CW (02/07)
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                                                                                                                                                                      ZAIC000215
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                                              (3) Operations in the business described in the Declarations of this policy but covered by the provisions
                                                  of another policy.
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                                                                                                                                                 U-GL-1305- A CW (02/07)
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                                                                                                                                                 ZAIC000216
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                                                                                                                      COMMERCIAL GENERAL LIABILITY


                                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                             KANSAS AND OKLAHOMA CHANGES ---
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                                                                   TRANSFER OF RIGHTS
                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART.


                                            Condition 8. TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US (Section IV), does not apply to
                                            COVERAGE C. MEDICAL PAYMENTS.




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                                                                                                                                  ZAIC000217
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                                                                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                                                                     CG 21 06 05 14
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                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                    EXCLUSION – ACCESS OR DISCLOSURE OF
                                                  CONFIDENTIAL OR PERSONAL INFORMATION AND
                                                        DATA-RELATED LIABILITY – WITH
                                                       LIMITED BODILY INJURY EXCEPTION
                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                            A. Exclusion 2.p. of Section I – Coverage A –                        As used in this exclusion, electronic data
                                               Bodily Injury And Property Damage Liability is                    means information, facts or programs
                                               replaced by the following:                                        stored as or on, created or used on, or
                                               2. Exclusions                                                     transmitted to or from computer software,
                                                                                                                 including    systems      and     applications
                                                  This insurance does not apply to:                              software, hard or floppy disks, CD-ROMs,
                                                  p. Access Or Disclosure Of Confidential Or                     tapes, drives, cells, data processing
                                                     Personal Information And Data-related                       devices or any other media which are used
                                                     Liability                                                   with electronically controlled equipment.
                                                     Damages arising out of:                           B. The following is added to Paragraph 2.
                                                                                                          Exclusions of Section I – Coverage B –
                                                    (1) Any access to or disclosure of any
                                                                                                          Personal And Advertising Injury Liability:
                                                         person's or organization's confidential or
                                                         personal information, including patents,         2. Exclusions
                                                         trade secrets, processing methods,                  This insurance does not apply to:
                                                         customer lists, financial information,
                                                         credit      card    information,    health          Access Or Disclosure Of Confidential Or
                                                         information or any other type of                    Personal Information
                                                         nonpublic information; or                           "Personal and advertising injury" arising out of
                                                    (2) The loss of, loss of use of, damage to,              any access to or disclosure of any person's or
                                                         corruption of, inability to access, or              organization's    confidential   or    personal
                                                         inability to manipulate electronic data.            information, including patents, trade secrets,
                                                                                                             processing methods, customer lists, financial
                                                     This exclusion applies even if damages are              information, credit card information, health
                                                     claimed for notification costs, credit                  information or any other type of nonpublic
                                                     monitoring expenses, forensic expenses,                 information.
                                                     public relations expenses or any other loss,
                                                     cost or expense incurred by you or others               This exclusion applies even if damages are
                                                     arising out of that which is described in               claimed for notification costs, credit monitoring
                                                     Paragraph (1) or (2) above.                             expenses, forensic expenses, public relations
                                                                                                             expenses or any other loss, cost or expense
                                                     However, unless Paragraph (1) above                     incurred by you or others arising out of any
                                                     applies, this exclusion does not apply to               access to or disclosure of any person's or
                                                     damages because of "bodily injury".                     organization's     confidential   or    personal
                                                                                                             information.




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                                                                                                                                            ZAIC000218
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                                                                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                                                                         CG 21 47 12 07

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                   EMPLOYMENT-RELATED PRACTICES EXCLUSION
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                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                            A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
                                               Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
                                               jury And Property Damage Liability:                          And Advertising Injury Liability:
                                               This insurance does not apply to:                            This insurance does not apply to:
                                               "Bodily injury" to:                                          "Personal and advertising injury" to:
                                              (1) A person arising out of any:                             (1) A person arising out of any:
                                                  (a) Refusal to employ that person;                           (a) Refusal to employ that person;
                                                  (b) Termination of that person’s employment;                 (b) Termination of that person’s employment;
                                                      or                                                           or
                                                  (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
                                                       or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
                                                       evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
                                                       mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
                                                       tion or malicious prosecution directed at                     tion or malicious prosecution directed at
                                                       that person; or                                               that person; or
                                              (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
                                                   that person as a consequence of "bodily injury"               that person as a consequence of "personal and
                                                   to that person at whom any of the employment-                 advertising injury" to that person at whom any
                                                   related practices described in Paragraphs (a),                of the employment-related practices described
                                                   (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
                                               This exclusion applies:                                       This exclusion applies:
                                              (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
                                                   Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
                                                   employment, during employment or after em-                    employment, during employment or after em-
                                                   ployment of that person;                                      ployment of that person;
                                              (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
                                                  ployer or in any other capacity; and                          ployer or in any other capacity; and
                                              (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
                                                  repay someone else who must pay damages                       repay someone else who must pay damages
                                                  because of the injury.                                        because of the injury.




                                            CG 21 47 12 07                                 ISO Properties, Inc., 2006                                Page 1 of 1

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                                                                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                                                                            CG 21 65 12 04

                                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                TOTAL POLLUTION EXCLUSION WITH A BUILDING
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                                              HEATING, COOLING AND DEHUMIDIFYING EQUIPMENT
                                                  EXCEPTION AND A HOSTILE FIRE EXCEPTION
                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                            Exclusion f. under Paragraph 2. Exclusions of Section                     (ii) At any premises, site or location on
                                            I ---- Coverage A ---- Bodily Injury And Property Damage                       which any insured or any contractors or
                                            Liability is replaced by the following:                                        subcontractors working directly or indi-
                                            This insurance does not apply to:                                              rectly on any insured’s behalf are per-
                                                                                                                           forming operations to test for, monitor,
                                             f. Pollution                                                                  clean up, remove, contain, treat, detox-
                                                  (1) "Bodily injury" or "property damage" which                           ify, neutralize or in any way respond to,
                                                       would not have occurred in whole or part but                        or assess the effects of, "pollutants".
                                                       for the actual, alleged or threatened discharge,        (2) Any loss, cost or expense arising out of any:
                                                       dispersal, seepage, migration, release or es-
                                                       cape of "pollutants" at any time.                           (a) Request, demand, order or statutory or
                                                                                                                       regulatory requirement that any insured or
                                                       This exclusion does not apply to:                               others test for, monitor, clean up, remove,
                                                      (a) "Bodily injury" if sustained within a building               contain, treat, detoxify or neutralize, or in
                                                           which is or was at any time owned or occu-                  any way respond to, or assess the effects
                                                           pied by, or rented or loaned to, any insured                of, "pollutants"; or
                                                           and caused by smoke, fumes, vapor or soot              (b) Claim or suit by or on behalf of a govern-
                                                           produced by or originating from equipment                   mental authority for damages because of
                                                           that is used to heat, cool or dehumidify the                testing for, monitoring, cleaning up, remov-
                                                           building, or equipment that is used to heat                 ing, containing, treating, detoxifying or neu-
                                                           water for personal use, by the building’s                   tralizing, or in any way responding to, or
                                                           occupants or their guests; or                               assessing the effects of, "pollutants".
                                                     (b) "Bodily injury" or "property damage" arising
                                                           out of heat, smoke or fumes from a "hostile
                                                           fire" unless that "hostile fire" occurred or
                                                           originated:
                                                           (i) At any premises, site or location which is
                                                               or was at any time used by or for any in-
                                                               sured or others for the handling, stor-
                                                               age, disposal, processing or treatment
                                                               of waste; or




                                            CG 21 65 12 04                                    ISO Properties, Inc., 2003                                Page 1 of 1

                                                                                                                                              ZAIC000220
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                                                                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                                                                             CG 22 79 04 13

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
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                                                                      EXCLUSION --- CONTRACTORS ---
                                                                        PROFESSIONAL LIABILITY
                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                            The following exclusion is added to Paragraph 2.              2. Subject to Paragraph 3. below, professional
                                            Exclusions of Section I ---- Coverage A ---- Bodily Injury       services include:
                                            And Property Damage Liability and Paragraph 2.                   a. Preparing, approving, or failing to prepare or
                                            Exclusions of Section I ---- Coverage B ---- Personal And           approve, maps, shop drawings, opinions,
                                            Advertising Injury Liability:                                       reports, surveys, field orders, change orders,
                                            1. This insurance does not apply to "bodily injury",                 or drawings and specifications; and
                                               "property damage" or "personal and advertising                b. Supervisory or inspection activities performed
                                               injury" arising out of the rendering of or failure to            as part of any related architectural or
                                               render any professional services by you or on                    engineering activities.
                                               your behalf, but only with respect to either or both
                                               of the following operations:                               3. Professional services do not include services
                                                                                                             within construction means, methods, techniques,
                                                a. Providing     engineering,    architectural    or
                                                                                                             sequences and procedures employed by you in
                                                   surveying services to others in your capacity
                                                                                                             connection with your operations in your capacity
                                                   as an engineer, architect or surveyor; and                as a construction contractor.
                                               b. Providing, or hiring independent professionals
                                                   to provide, engineering, architectural or
                                                   surveying services in connection with
                                                   construction work you perform.
                                               This exclusion applies even if the claims against
                                               any insured allege negligence or other wrongdoing
                                               in the supervision, hiring, employment, training or
                                               monitoring of others by that insured, if the
                                               "occurrence" which caused the "bodily injury" or
                                               "property damage", or the offense which caused
                                               the "personal and advertising injury", involved the
                                               rendering of or failure to render any professional
                                               services by you or on your behalf with respect to
                                               the operations described above.




                                            CG 22 79 04 13                            Insurance Services Office, Inc., 2012                       Page 1 of 1

                                                                                                                                         ZAIC000221
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                                            POLICY NUMBER:        GLO 0220071-00                                         COMMERCIAL GENERAL LIABILITY
                                                                                                                                        CG 24 17 10 01

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                             CONTRACTUAL LIABILITY - RAILROADS
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                                            This endorsement modifies insurance provided under the following:


                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                                                SCHEDULE


                                            Scheduled Railroad:                                        Designated Job Site:
                                            ALL CONTRACTS FOR WORK DONE FOR
                                            RAILROADS




                                             (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
                                            as applicable to this endorsement.)


                                            With respect to operations performed for, or affecting,            Paragraph f. does not include that part of any
                                            a Scheduled Railroad at a Designated Job Site, the                 contract or agreement:
                                            definition of "insured contract" in the Definitions sec-          (1) That indemnifies an architect, engineer or
                                            tion is replaced by the following:                                    surveyor for injury or damage arising out
                                            9. "Insured Contract" means:                                          of:
                                               a. A contract for a lease of premises. However,                   (a) Preparing, approving or failing to pre-
                                                   that portion of the contract for a lease of                        pare or approve maps, shop drawings,
                                                   premises that indemnifies any person or or-                        opinions, reports, surveys, field orders,
                                                   ganization for damage by fire to premises while                    change orders or drawings and specifi-
                                                   rented to you or temporarily occupied by you                       cations; or
                                                   with permission of the owner is not an "insured               (b) Giving directions or instructions, or
                                                   contract";                                                         failing to give them, if that is the primary
                                               b. A sidetrack agreement;                                              cause of the injury or damage;
                                               c. Any easement or license agreement;                          (2) Under which the insured, if an architect,
                                               d. An obligation, as required by ordinance, to                     engineer or surveyor, assumes liability for
                                                   indemnify a municipality, except in connection                 an injury or damage arising out of the in-
                                                   with work for a municipality;                                  sured’s rendering or failure to render pro-
                                                                                                                  fessional services, including those listed in
                                               e. An elevator maintenance agreement;                              Paragraph (1) above and supervisory, in-
                                                f. That part of any other contract or agreement                   spection, architectural or engineering activi-
                                                   pertaining to your business (including an in-                  ties.
                                                   demnification of a municipality in connection
                                                   with work performed for a municipality) under
                                                   which you assume the tort liability of another
                                                   party to pay for "bodily injury" or "property
                                                   damage" to a third person or organization. Tort
                                                   liability means a liability that would be imposed
                                                   by law in the absence of any contract or
                                                   agreement.




                                            CG 24 17 10 01                                ISO Properties, Inc., 2000                                 Page 1 of 1
                                                                                                                                          ZAIC000222
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                                            POLICY NUMBER: GLO         0220071-00                                             COMMERCIAL GENERAL LIABILITY
                                                                                                                                             CG 25 04 05 09

                                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                          DESIGNATED LOCATION(S)
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                                                                         GENERAL AGGREGATE LIMIT
                                            This endorsement modifies insurance provided under the following:

                                               COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                                                  SCHEDULE
                                            Designated Location(s):
                                            SEE U-GU-618-A SCHEDULE OF LOCATIONS.


                                            Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



                                            A. For all sums which the insured becomes legally                    b. Claims made or "suits" brought; or
                                               obligated to pay as damages caused by                             c. Persons or organizations making claims or
                                               "occurrences" under Section I ---- Coverage A, and                   bringing "suits".
                                               for all medical expenses caused by accidents
                                               under Section I ---- Coverage C, which can be                  3. Any payments made under Coverage A for
                                               attributed only to operations at a single                         damages or under Coverage C for medical
                                               designated "location" shown in the Schedule                       expenses shall reduce the Designated
                                               above:                                                            Location General Aggregate Limit for that
                                                                                                                 designated "location". Such payments shall
                                               1. A separate Designated Location General                         not reduce the General Aggregate Limit
                                                   Aggregate Limit applies to each designated
                                                                                                                 shown in the Declarations nor shall they
                                                   "location", and that limit is equal to the amount
                                                                                                                 reduce any other Designated Location
                                                   of the General Aggregate Limit shown in the                   General Aggregate Limit for any other
                                                   Declarations.                                                 designated "location" shown in the Schedule
                                               2. The Designated Location General Aggregate                      above.
                                                   Limit is the most we will pay for the sum of all           4. The limits shown in the Declarations for Each
                                                   damages under Coverage A, except damages                      Occurrence, Damage To Premises Rented To
                                                   because of "bodily injury" or "property                       You and Medical Expense continue to apply.
                                                   damage" included in the "products-completed                   However, instead of being subject to the
                                                   operations hazard", and for medical expenses                  General Aggregate Limit shown in the
                                                   under Coverage C regardless of the number                     Declarations, such limits will be subject to the
                                                   of:                                                           applicable Designated Location General
                                                    a. Insureds;                                                 Aggregate Limit.




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                                                                                                                                          ZAIC000223
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                                            B. For all sums which the insured becomes legally       C. When coverage for liability arising out of the
                                               obligated to pay as damages caused by                   "products-completed operations hazard" is
                                               "occurrences" under Section I ---- Coverage A, and      provided, any payments for damages because of
                                               for all medical expenses caused by accidents            "bodily injury" or "property damage" included in
                                               under Section I ---- Coverage C, which cannot be        the "products-completed operations hazard" will
                                               attributed only to operations at a single               reduce the Products-completed Operations
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                                               designated "location" shown in the Schedule             Aggregate Limit, and not reduce the General
                                               above:                                                  Aggregate Limit nor the Designated Location
                                               1. Any payments made under Coverage A for               General Aggregate Limit.
                                                  damages or under Coverage C for medical           D. For the purposes of this endorsement, the
                                                  expenses shall reduce the amount available           Definitions Section is amended by the addition of
                                                  under the General Aggregate Limit or the             the following definition:
                                                  Products-completed Operations Aggregate              "Location" means premises involving the same or
                                                  Limit, whichever is applicable; and                  connecting lots, or premises whose connection is
                                               2. Such payments shall not reduce any                   interrupted only by a street, roadway, waterway
                                                  Designated Location General Aggregate Limit.         or right-of-way of a railroad.
                                                                                                    E. The provisions of Section III ---- Limits Of
                                                                                                       Insurance not otherwise modified by this
                                                                                                       endorsement shall continue to apply as
                                                                                                       stipulated.




                                                                                                                                       ZAIC000224
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                                                                                                                              Policy Number
                                                                                                                              GLO 0220071-00
                                                                                                                              Endorsement No.        001
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                                                                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                   COMMON POLICY CHANGE ENDORSEMENT

                                                             ZURICH AMERICAN INSURANCE COMPANY

                                            Named Insured       WESTAR ENERGY, INC.                                       Effective Date of change: 01-01-18
                                                                                                                          12:01 A.M., Standard Time
                                            Agent Name          AON RISK SERVICES SOUTHWEST INC                           Agent No.     14340-000
                                            This endorsement will not be used to decrease coverages, increase rates or deductibles or alter any terms or
                                            conditions of coverage unless at the sole request of the insured.
                                            COVERAGE PART I NFO RMATI O N --- C overage par ts affected by this change as indicated by X below.
                                                         Commercial Property
                                                  X      Commercial General Liability

                                                         Commercial Crime
                                                         Commercial Inland Marine




                                            The following item(s):
                                                          Insured’s Name                                        Insured’s Mailing Address

                                                          Effective/ Expiration Date                            Insured’s Legal Status / Business of Insured
                                                          Payment Plan                                      X   Coverage Forms and Endorsements
                                                          Add / Delete Vehicle                                  Deductibles
                                                          Additional Interest                                   Classification / Class Codes
                                                          Limits / Exposures                                    Underlying Exposure/ Insurance

                                                          Covered Property / Location Description
                                            is (are) changed to read [See Additional Page(s)]

                                            THE FOLLOWING FORM(S) HAS BEEN ADDED:
                                            U-GL-1114-A CW 10-02      DAMAGE TO YOUR WORK EXCLUSION
                                            U-GL-1114-A CW 10-02      DAMAGE TO YOUR PRODUCT EXCLUSION




                                            The above amendments result in a change in the premiums as follows:
                                                                           This premium does not include taxes and surcharges.
                                                   No changes        X To be Adjusted at Audit Additional                             Return

                                                                                           Tax and Surcharge Changes

                                            Additional                                                                                Return

                                                                                                                                               U-GU-614-B CW (10/ 16)
                                                                                                                                               ZAIC000225
                                                           Case 2:19-cv-02710-HLT Document 1-9 Filed 11/19/19 Page 77 of 79


                                                                                                                        Policy Number
                                                                                                                        GLO 0220071-00
                                                                                                                        Endorsement N o.     001
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                                          ZURICH AMERICAN INSURANCE COMPANY

                                              Named Insured      WESTAR ENERGY, INC.                                    Effec tive Date of Change: 01-01-18
                                                                                                                        12:01 A.M., Standard Time

                                              Agent Name         AON RISK SERVICES SOUTHWEST INC                        Agent N o.   14340-000

                                                                      POLICY CHANGES ENDORSEMENT DESCRIPTION (CONT’D)
                                            ALL OTHER TERMS AND CONDITIONS REMAIN THE SAME




                                            REMOVAL PERMIT
                                            If this policy includes the Commercial Property C overage Part , the following applies with respect to the Cover-
                                            age Part:
                                            If Covered Property is removed to a new location that is descri bed on this Policy Change, you may extend this
                                            insurance to include that C overed Property at each l ocati on during the removal. C overage at each l ocati on will
                                            apply in the proporti on that the value at each location bears to the value of all Covered Property being removed.
                                            This permit applies up to 10 days after the effective date of this Policy Change; after that, t his insurance does
                                            not apply at the previ ous locati on.



                                                                                                                                           U-GU-614-B CW (10/ 16)
                                                                                                                                          ZAIC000226
                                                            Case 2:19-cv-02710-HLT Document 1-9 Filed 11/19/19 Page 78 of 79


                                                                                                     Policy Number
                                                                                                    GLO 0220071-00
                                                                                                   ENDORSEMENT 001

                                                                     ZURICH AMERICAN INSURANCE COMPANY
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                            Named Insured: WESTAR ENERGY, INC.                       Effective Date: 01-01-18
                                                                                                     12:01 A.M., Standard Time


                                            Agent Name:          AON RISK SERVICES SOUTHWEST INC                   Agent No. 14340-000

                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                            U-GL-1114-A CW (10/02)
                                                                                                                                 ZAIC000227
                                                            Case 2:19-cv-02710-HLT Document 1-9 Filed 11/19/19 Page 79 of 79


                                                                                                     Policy Number
                                                                                                     GLO 0220071-00

                                                                                                   ENDORSEMENT 001
FILED DATE: 10/9/2019 2:06 PM 2019CH09254




                                                                     ZURICH AMERICAN INSURANCE COMPANY
                                            Named Insured: WESTAR ENERGY, INC.                             Effective Date: 01-01-18
                                                                                                           12:01 A.M., Standard Time


                                            Agent Name:          AON RISK SERVICES SOUTHWEST INC                           Agent No. 14340-000

                                                                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                            U-GL-1114-A CW (10/02)
                                                                                                                           ZAIC000228
